     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 1 of 85


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4
                            UNITED STATES DISTRICT COURT
5
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
6

7     COALITION FOR A SUSTAINABLE DELTA and          1:09-cv-02024 OWW GSA
      KERN COUNTY WATER AGENCY,
8                                                    MEMORANDUM DECISION RE
                   Plaintiff,                        FEDERAL DEFENDANTS‘
9                                                    MOTION FOR PARTIAL
              v.                                     SUMMARY JUDGMENT (DOC.
10                                                   121)

11    FEDERAL EMERGENCY MANAGEMENT AGENCY
      and WILLIAM CRAIG FUGATE, in his
12    official capacity as Administrator of
      the Federal Emergency Management
13    Agency,
14                 Defendants.
15
                                   I. INTRODUCTION
16
           This case is before the Court on the Federal Defendant‘s
17
      Motion for Partial Summary Judgment.         This case involves a
18

19    challenge to the Federal Emergency Management Agency‘s (―FEMA‖)

20    administration of the National Flood Insurance Program (―NFIP‖)

21    in the Sacramento-San Joaquin Delta (―Delta‖).1          Plaintiffs, the
22    Coalition for a Sustainable Delta and Kern County Water Agency,
23

24    1
        This lawsuit was originally filed by Plaintiffs as part of a comprehensive
      challenge to the administration of various government programs that allegedly
25    have adverse effects on species listed under the Endangered Species Act
      (―ESA‖). See Second Amended Complaint (―SAC‖), Doc. 118. The SAC, filed
26    originally in Case Number 1:09-CV-00490 OWW GSA, brought claims against eight
      separate federal agencies. Certain claims were consolidated with those in the
27    Delta Smelt Consolidated Cases, 1:09-CV-00407 OWW DLB, and three sets of
      claims were severed and assigned new case numbers. See Doc. 100. Claims 14
28    through 16 against FEMA were assigned the Case Number 1:09-CV-02024 OWW DLB.
      Id.
                                            1
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 2 of 85


1     allege in their first claim for relief that FEMA‘s ongoing
2     implementation of the NFIP, by, among other things, certifying
3
      community eligibility for the NFIP, monitoring community
4
      compliance and enforcement with FEMA‘s criteria for eligibility,
5
      and revising flood maps, provides incentives for development
6
      within the Delta that might otherwise not occur and therefore
7

8     requires consultation under Section 7 of the ESA.            Third Amended

9     Complaint (―TAC‖), Doc. 118, at ¶¶ 82-83.2

10         Plaintiffs claim that residential, commercial, and
11    agricultural development in the Delta adversely affects four
12
      listed species: Sacramento River winter-run Chinook salmon, the
13
      Central Valley spring-run Chinook salmon, the Central Valley
14
      Steelhead, and the Delta smelt.        Plaintiffs assert that FEMA‘s
15
      actions under the NFIP cause ―more development in the flood-prone
16

17    areas of the Delta,‖ which harms listed species.           Plaintiffs‘

18    challenges to FEMA actions under the NFIP include:            (1) issuance,
19    administration, and enforcement of minimum flood plain management
20
      criteria; (2) issuance of Letters of Map Changes (―LOMCs‖); and
21
      (3) providing flood insurance to property owners within
22
      participating communities.       Plaintiffs specifically identify 74
23
      LOMCs and two LOMC ―Validations‖ allegedly issued in violation of
24
      2
25      Plaintiffs‘ second claim for relief alleges that FEMA has violated ESA
      section 7(a)(1) by failing to review its programs to determine how to utilize
26    them to conserve Listed Species and by failing to consult with FWS or NMRF
      about how to conserve Listed Species. TAC at ¶¶ 87-90. The third claim for
27    relief alleges that FEMA has in fact initiated consultation with FWS and NMFS
      regarding the effect of the NFIP on the Listed Species, but that FEMA is
28    continuing to commit resources through its ongoing administration of the NFIP
      in violation of ESA Section 7(d).
                                            2
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 3 of 85


1     section 7(a)(2).    McArdle Decl., Doc. 123-1, Ex. 1 at 18-26;
2     Norton Decl., Doc. 124, at ¶ 9 & Ex. C.
3
           Plaintiffs complain that FEMA‘s floodplain management
4
      criteria: ―Are designed to reduce threats to lives and to
5
      minimize damages to structures and water systems, and are not
6
      designed to protect aquatic habitat, threatened or endangered
7

8     species, or other environmental values.‖        TAC at ¶ 73.    This

9     includes FEMA-conducted ―community visits‖ and ―technical

10    assistance to local officials‖ to ensure participating
11    communities adopt and enforce land management ordinances, all of
12
      which entails FEMA ―discretion‖ in developing and administering
13
      the criteria, requiring section 7(a)(2) consultation.
14
           Plaintiffs assert this process encourages third parties to
15
      use fill to elevate properties, or build levees to provide flood
16

17    protection to induce FEMA to remove the property from the SFHA,

18    relieving property owners of the statutory obligation to purchase
19    flood insurance.    TAC at ¶¶ 70-72.     These floodplain mapping
20
      activities are said to ―encourage‖ these harmful actions,
21
      requiring section 7(a)(2) consultation.        Id.
22
           Plaintiffs further complain ―FEMA has issued hundreds of new
23
      individual flood insurance policies for the new structures within
24

25    floodplains utilized by and relied upon by the Listed Species

26    without the benefit of consultation in violation of section

27    7(a)(2).
28         FEMA and its director Janet Napolitano (collectively,
                                      3
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 4 of 85


1     ―Federal Defendants‖ or ―FEMA‖) move for partial summary judgment
2     on the specific grounds that: (1) Plaintiffs‘ Challenge to FEMA‘s
3
      Minimum Floodplain Management Criteria is barred by the statute
4
      of limitations; (2) FEMA‘s alleged authority to amend the NFIP
5
      regulations does not trigger a duty to consult under the ESA; (3)
6
      FEMA‘s procedure of issuing LOMCs does not trigger a duty to
7

8     consult because that process has no effect on listed species; (4)

9     Plaintiff‘s challenge to certain LOMCs is precluded because Title

10    42 U.S.C. § 4104 sets forth the exclusive mechanism for
11    challenging LOMCs; and (5) FEMA‘s issuance of flood insurance is
12
      a non-discretionary act that is not subject to Section 7(a)(2)
13
      under National Association of Home Builders v. Defenders of
14
      Wildlife, 551 U.S. 644, 669 (2007).       Doc. 122. Plaintiffs oppose.
15
      Doc. 129.   FEMA replied.     Doc. 138.   The matter came on for
16

17    hearing in Courtroom 3 on April 7, 2011.

18                           II. EVIDENTIARY DISPUTES
19         Plaintiffs have filed several requests for judicial notice
20
      in connection with their opposition.        Docs. 131, 142, 144.     All
21
      but one is a public record downloaded from a public agency‘s
22
      official website.     These documents are subject to judicial notice
23
      under Federal Rule of Evidence 201.       See Cachil Dehe Band of
24

25    Wintun Indians of the Colusa Indian Comm‘ty v. California, 547

26    F.3d 962, 968-69 n.4 (9th Cir. 2008) (taking judicial notice of

27    gaming compacts located on official California Gambling Control
28    Commission website); Santa Monica Food Not Bombs v. City of Santa
                                      4
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 5 of 85


1     Monica, 450 F.3d 1022, 1025 n.2 (9th Cir. 2006) (taking judicial
2     notice of ―public records‖ that ―can be accessed at Santa
3
      Monica's official website‖).        However, judicially noticed
4
      documents may be considered only for limited purposes.             Public
5
      records ―are subject to judicial notice under [Rule] 201 to prove
6
      their existence and content, but not for the truth of the matters
7

8     asserted therein.     This means that factual information asserted

9     in these document[s] or the meeting cannot be used to create or

10    resolve disputed issues of material fact.‖          Coalition for a
11    Sustainable Delta v. McCamman, 725 F. Supp. 2d 1162, 1183-84
12
      (E.D. Cal. 2010) (emphasis added).
13
            FEMA asserts that Plaintiffs are attempting to use the
14
      documents for improper purposes.          FEMA also raises relevance
15
      objections to some of the documents.3
16

17
               1.    Documents A, B, L, N, Q & R.
18
          Exhibit A - Excerpts from FEMA, Region 10, Floodplain Habitat
19        Assessment and Mitigation, Regional Guidance (Jan. 2010),
          http://www.fema.gov/pdf/about/regions/regionx/draft_mitigation_
20        guide.pdf.
21        Exhibit B - Excerpts from the Nat‘l Marine Fisheries Serv.,
22    3
        Plaintiffs argue that Federal Defendants have waived any objections to their
      request for judicial notice because Federal Defendants filed their objections
23    to the request on February 11, 2011, even though the briefing schedule for the
      pending motions set the deadline for any reply briefs on February 7, 2011.
24    Given that the hearing date was not until May 7, 2010 and Plaintiffs have had
      ample time not only to file a response to the objections but also to file
25    subsequent requests for judicial notice, Plaintiffs have not been prejudiced
      by the late-filed objections. The objections will be considered.
26          Plaintiffs also complain that Defendants‘ objections to Exhibits A, B,
      F, I-K, & L should be overruled because each is responsive to Plaintiffs‘
27    prior discovery requests. This argument will not be considered because it
      amounts to an attempt to avoid the normal procedures for filing a discovery
28    enforcement motion, which include the requirement that the parties meet and
      confer before bringing any such motion. See generally Local Rule 36-251.
                                            5
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 6 of 85


1       Northwest Region, Endangered Species Act Section 7 Formal
        Consultation and Magnuson-Stevens Fishery Conservation and
2       Management Act Essential Fish Habitat Consultation for the on-
        going National Flood Insurance Program carried out in the
3       Puget Sound area in Washington State (Sept. 22, 2008) (―Puget
        Sound BiOp‖), https://pcts.nmfs.noaa.gov/pls/pcts-
4       pub/sxn7.pcts_upload.download?p_file=F3181/200600472.

5       Exhibit L - Excerpts from FEMA Region 10, Floodplain Management
        Guidebook (5th ed. Mar. 2009),
6       http://www.fema.gov/library/viewRecord.do?fromSearch=fromsearch
        &id=3574.
7
        Exhibit N - Excerpts from FEMA Region 10, Community Checklist
8       for the National Flood Insurance Program and the Endangered
        Species Act (July 2010),
9       http://www.fema.gov/pdf/about/regions/regionx/Biological_Opinio
        n_Checklist8_12._10.pdf.
10
        Exhibit Q – FEMA & NMFS, Frequently Asked Questions,
11      Demystifying National Flood Insurance Program Alignment with
        the Endangered Species Act, Edmonds, WA March 1 & 2, 2011.
12
        Exhibit R – FEMA, Overview of Compliance Options, ESA and the
13      NFIP, Implementing a Salmon-Friendly Program – FEMA Region 10
        Regional Workshop.
14
           FEMA argues that these documents, which pertain to FEMA
15
      Region 10‘s implementation of the NFIP in and around Puget Sound
16

17    are not relevant to FEMA Region 9‘s implementation of the NFIP in

18    the Sacramento San Joaquin Delta.       Rule 401 defines ―relevant

19    evidence‖ liberally to include ―evidence having any tendency to
20    make the existence of any fact that is of consequence to the
21
      determination of the action more or less probable than it would
22
      be without the evidence.‖      (Emphasis added).     Plaintiffs offer
23
      these documents to demonstrate that NMFS has determined that
24
      implementation of the NFIP in the Puget Sound region jeopardizes
25

26    the continued existence of listed salmonid species in that

27    region.   This satisfies the relevance standard, as any

28    differences in indigenous conditions in Puget Sound go to weight
                                      6
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 7 of 85


1     not the admissibility of the information.        FEMA‘s relevance
2     objections are OVERRULED.
3
           Plaintiffs offer these documents for the truth of the
4
      matters asserted therein, to prove that a dispute exists over
5
      whether FEMA‘s administration of the NFIP may affect listed
6
      species.   This is an impermissible use of judicially noticed
7

8     documents and the objections on this ground are SUSTAINED.

9          Documents A, L, N, Q, & R, all of which were authored by

10    FEMA, are admissible under Federal Rule of Evidence 801(d)(2)(D),
11    which permits the admission of statements offered against a party
12
      that are the statement of the party or the party's agent or
13
      servant, ―concerning a matter within the scope of the agency or
14
      employment, made during the existence of the relationship.‖          See
15

16
      United States v. Bonds, 608 F. 3d 495, 503 (9th Cir. 2010).          Each

17    of these documents is an official FEMA publication concerning

18    matters within FEMA‘s scope of operations.
19         Exhibit B, a biological opinion prepared by NMFS, is
20
      admissible under Federal Rule of Evidence 803(8), which provides
21
      an exception to the hearsay rule:
22
                 (8) Public records and reports. Records, reports,
23               statements, or data compilations, in any form, of
                 public offices or agencies, setting forth (A) the
24               activities of the office or agency, or (B) matters
25               observed pursuant to duty imposed by law as to which
                 matters there was a duty to report .....
26
      NMFS prepares biological opinions under a duty imposed by ESA §
27
      7(a)(2).
28
                                           7
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 8 of 85


1           Federal Defendants‘ objections to the admission of Documents
2     A, B, L, N, Q & R for their truth are OVERRULED.4
3

4             2.    Document F.

5         Exhibit F - Excerpts from FEMA, FEMA-1628-DR, California
          Federal Disaster Assistance Biological Assessment (May 2006),
6         http://www.fema.gov/library/viewRecord.do?id=1966.

7           This document contains excerpts of a draft biological

8     assessment for ESA consultation with NMFS over the potential

9     effects of ―typical projects that are funded by FEMA in response
10    to, or in preparation for, disasters‖ in California.            FEMA argues
11
      that this document is not relevant because its actions responding
12
      to and/or preparing for disasters are not challenged in the
13
      Complaint.    This relevancy objection is OVERRULED, because the
14
      document, which concludes that activities like removal of
15

16    vegetation, grading, fill, bank stabilization, and others taken

17    under the NFIP ―may affect‖ listed species, and has some tendency

18    to show these activities make it more likely that implementation
19    of the NFIP may affect listed salmonids in the Delta.
20
            This document is a party admission and separately admissible
21
      on that ground under Federal Rule of Evidence 801(d)(2).
22
      Alternatively, this document is also admissible as a public
23

24
      4
25      Plaintiffs submitted an additional, fourth, request for judicial notice on
      May 20, 2011, more than a month after oral argument, seeking judicial notice
26    of three additional documents pertaining to FEMA‘s implementation of the NFIP
      in Region 10, arguing they demonstrate FEMA has discretion in its
27    administration of the NFIP to alter implementation to benefit listed
      salmonids. Doc. 151. These documents are unnecessary to the resolution of
28    the pending motion, as other documents demonstrate the existence of such
      discretion.
                                            8
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 9 of 85


1     record under Rule 803(8), as the ESA mandates the preparation of
2     biological assessments when certain conditions exist.
3
           FEMA‘s objections to the admission of Exhibit F for its
4
      truth are OVERRULED.
5

6            3. Documents C, C1, D, E, E1, E2, & P.
7       Exhibit C - Settlement Agreement and [Proposed] Order in
        Audubon Soc‘y of Portland v. FEMA, No. 3:09-cv-00729-HA (D.
8       Or. filed June 25, 2009), ECF No. 20 (filed July 9, 2010),
        obtained by accessing the official PACER web page for the U.S.
9       District Court for the District of Oregon at
        https://ecf.ord.uscourts.gov/cgi-bin/login.pl.
10
        Exhibit C1 - Order in Audubon Soc‘y of Portland v. FEMA, No.
11      3:09-cv-00729-HA (D. Or. filed June 25, 2009), ECF No. 21
        (filed July 12, 2010), obtained by accessing the official PACER
12      web page for the U.S. District Court for the District of Oregon
        at https://ecf.ord.uscourts.gov/cgi-bin/login.pl.
13
        Exhibit D - Settlement Agreement and Stipulation of Dismissal
14      in Nat‘l Wildlife Fed‘n v. Fugate, No. 1:10-cv-22300-KKM (S.D.
        Fla. filed July 13, 2010), ECF No. 20 (filed Jan. 20, 2011),
15      obtained by accessing the official CM/ECF web page for the U.S.
        District Court for the Southern District of Florida at
16      https://ecf.flsd.uscourts.gov/cgi-bin/login.pl.
17      Exhibit E - Sixth Joint Motion for Stay in WildEarth Guardians
        v. FEMA, No. 09-0882- RB/WDS (D.N.M. filed Sept. 14, 2009),
18      ECF No. 34 (filed Jan. 28, 2011), obtained by accessing the
        official PACER web page for the U.S. District Court for the
19      District of New Mexico at https://ecf.nmd.uscourts.gov/cgi-
        bin/login.pl.
20
        Exhibit E1 - First Amended Complaint in WildEarth Guardians v.
21      FEMA, No. 09-0882-RB/WDS (D.N.M. filed Sept. 14, 2009), ECF
        No. 1 (filed Sept. 14, 2009), obtained by accessing the
22      official PACER web page for the U.S. District Court for the
        District of New Mexico at https://ecf.nmd.uscourts.gov/cgi-
23      bin/login.pl.
24      Exhibit E2 – Settlement Agreement and Stipulation of Dismissal
        in Forest Guardians v. FEMA, No. 1:01-cv-00079-MCA-RLP (D.N.M.
25      filed Jan. 22, 2001), ECF No. 12 (filed Feb. 25, 2002),
        obtained by accessing the official PACER web page for the U.S.
26      District Court for the District of New Mexico at
        https://ecf.nmd.uscourts.gov/cgi-bin/login.pl.
27
        Exhibit P - Settlement Agreement and Order of Dismissal in
28      WildEarth Guardians v. FEMA, No. 09-0882-RB/WDS (D.N.M. filed
                                           9
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 10 of 85


1        Sept. 14, 2009), ECF No. 37 (filed Feb. 11, 2011, entered Feb.
         15, 2011)
2
             These documents are court filings and settlements of other
3
      litigation.    FEMA objects that under Federal Rule of Evidence
4

5     408, these exhibits are inadmissible as evidence of liability.

6     See also Green v. Baca, 226 F.R.D. 624, 640 (C.D. Cal. 2005)

7     (noting that Rule 408 bars the use of evidence of settlement
8     negotiations or completed settlements in other cases to prove
9
      liability).    Rule 408 ―does not require exclusion when the
10
      evidence is offered for another purpose, such as proving bias or
11
      prejudice of a witness, negating a contention of undue delay, or
12
      proving an effort to obstruct a criminal investigation or
13

14    prosecution....‖     Fed. R. Evid. 408(b).      Plaintiffs claim these

15    documents are offered simply to demonstrate ―that FEMA has either

16    voluntarily settled claims that it has failed to consult with
17    respect to [in] its ongoing implementation of the [NFIP].‖            Doc.
18
      131.   This is to show consciousness of liability.         Plaintiffs
19
      actually use these documents in their Opposition to the Motion
20
      for Partial Summary Judgment to argue ―it would be curious for
21

22    FEMA to voluntarily consult if, as the agency claims, it has no

23    legal basis to do so.‖      Doc. 129 at 9.    These are impermissible

24    uses of the settlements to establish liability.          For this
25    purpose, the objection is SUSTAINED.
26
             Plaintiffs alternatively contend that the settlements
27
      demonstrate FEMA has discretion to take actions that benefit the
28
                                           10
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 11 of 85


1     species, because if they had no such discretion it could not
2     enter into the settlements as a matter of law.          Doc. 141 at 4.
3
      FEMA rejoins that, for example, Exhibit P, a settlement agreement
4
      pertaining to FEMA‘s administration of the NFIP in New Mexico,
5
      does not state or imply that FEMA retains discretionary authority
6
      with respect to any of the three components of FEMA‘s
7

8     administration of the NFIP in the Delta.         But, that settlement

9     calls for initiation of consultation over, among other things,

10    FEMA‘s floodplain mapping activities within New Mexico.             That
11    FEMA could lawfully enter into consultation on that activity
12
      (which would violate Home Builders if FEMA did not have
13
      discretion to modify its mapping activities for the benefit of
14
      listed species) is relevant to whether FEMA retains similar
15
      discretion in its mapping activities in the Delta.          These
16

17    settlement documents are admissible for the limited purpose of

18    demonstrating that FEMA does retain discretion to take actions to
19    benefit the species under the NFIP, not for the truth or to
20
      demonstrate liability.      FEMA‘s objections as to Exhibits C, C1,
21
      D, E, E1, E2, and P are OVERRULED solely on that ground.
22

23           4. Exhibit G.
24       Exhibit G - Excerpts from California Resources Agency,
         Governor‘s Delta Vision Blue Ribbon Task Force, Delta Vision
25       Strategic Plan (Oct. 2008),
         http://deltavision.ca.gov/StrategicPlanningProcess/StaffDraft/D
26       elta_Vision_Strategic_Plan_standard_resolution.pdf.
27          Exhibit G consists of excerpts of the Delta Vision Strategic
28    Plan, prepared by Governor Arnold Schwarzenegger‘s Delta Vision
                                      11
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 12 of 85


1     Blue Ribbon Task Force.      Its discussion of the impacts of
2     development on Delta species is arguably relevant, but it is
3
      subject to judicial notice solely for the limited purposes
4
      discussed above.
5
            Federal Rule of Evidence 803(8) exempts from the hearsay
6
      rule public reports concerning ―matters observed pursuant to duty
7

8     imposed by law as to which matters there was a duty to report.‖

9     The Delta Vision Strategic Plan was the result of California

10    Executive Order S-17-06, requiring a Blue Ribbon Task Force to
11    develop a strategic plan for the Delta.
12
           FEMA‘s objections to Exhibit G are OVERRULED.          The document
13
      is admissible as a public record, but its contents and the
14
      opinions expressed are subject to dispute.
15

16           5. Exhibit H.
17       Exhibit H - Excerpts from Public Policy Institute of
         California, Envisioning Futures for the Sacramento-San Joaquin
18       Delta (2007),
         http://www.ppic.org/content/pubs/report/R_207JLR.pdf.
19
            Exhibit H contains excerpts of a document prepared by the
20
21    Public Policy Institute of California (―PPIC‖).          Assuming,

22    arguendo, this document is relevant, it is not subject to
23    judicial notice, as PPIC is a non-governmental organization.
24
      Even if it were judicially noticeable, it is not admissible for
25
      the truth of its contents.       Nor is it admissible under either
26
      Rule 801(d)(2) because it is not a FEMA publication or Rule
27
      803(8) because it was not prepared by a government agency
28
                                           12
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 13 of 85


1     pursuant to a legal duty.
2           At oral argument, counsel for Plaintiffs argued that this
3
      and all other documents for which judicial notice is sought would
4
      be admissible at trial through their retained expert witness.
5
      However, any documents offered on summary judgment must be
6
      authenticated by an appropriate affidavit or declaration
7

8     providing a foundation for their admissibility.          See Orr v. Bank

9     of Am., 285 F.3d 764, 773 (9th Cir. 2002) (―[U]nauthenticated

10    documents cannot be considered in a motion for summary
11    judgment.‖).    Plaintiffs must submit an appropriate affidavit
12
      demonstrating the admissibility of these documents through their
13
      expert.   See In Re Homestore.com Inc. Securities Litig., 347 F.
14
      Supp. 2d 769, 780 (C.D. Cal. 2004) (plaintiff‘s assertion that a
15
      document is an expert report and presentation of purported
16

17    expert‘s background and the source of the data insufficient to

18    authenticate or provide the required foundation for the
19    document).     Federal Defendants must be afforded the opportunity
20
      to challenge the expert‘s qualifications and the admissibility of
21
      any opinion testimony based on the documents in question.
22
            Alternatively, Plaintiffs invoke Federal Rule of Civil
23
      Procedure 56(d), which permits a court to defer considering a
24

25    motion, deny it, allow time to obtain additional affidavits or

26    discovery, or issue any other appropriate order if the non-moving

27    party demonstrates by affidavit or declaration that it cannot
28    present facts essential to justify its opposition.          Plaintiffs‘
                                      13
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 14 of 85


1     offer of proof during oral argument that they have retained an
2     expert who will provide foundations for Exhibit H does not
3
      explain why they did not earlier address the issue.          There is no
4
      need to defer a decision on issues for which Exhibit H ―may
5
      create‖ a material dispute of fact.        The merits of the pending
6
      motion can be resolved without reference to this document.            It is
7

8     unnecessary to resolve Plaintiffs‘ request for a rule 56(d)

9     continuance to secure expert evidence that would render Exhibit H

10    admissible.
11
               6.    Exhibits I through K.
12
         Exhibit I - Excerpts from Am. Insts. for Research, The
13       Evaluation of the National Flood Insurance Program – Final
         Report (Oct. 2006) (―NFIP Evaluation Final Report‖),
14       http://www.fema.gov/library/viewRecord.do?id=2573.
15       Exhibit J - Excerpts from Am. Insts. for Research, The
         Development and Envtl. Impact of the Nat‘l Flood Ins. Program:
16       A Summary Research Report (Oct. 2006) (―The Developmental and
         Envtl. Impact of the NFIP‖),
17       http://www.fema.gov/library/viewRecord.do?id=2597.
18       Exhibit K - Excerpts from Am. Insts. for Research, Assessing
         the Adequacy of the Nat‘l Flood Ins. Program‘s 1 Percent Flood
19       Standard (Oct. 2006),
         http://www.fema.gov/library/viewRecord.do?id=2595.
20
      Exhibits I through K consist of excerpts of documents prepared by
21

22    the American Institutes for Research, a private entity.           Although

23    the documents were prepared with funds provided by FEMA, the

24    documents explicitly provide that their content ―does not
25    necessarily reflect the views or policies of [FEMA].‖           Norton
26
      Decl., Ex. I at 120, Ex. J at 133, Ex. K at 148.          These documents
27
      are not admissions by FEMA.
28
                                           14
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 15 of 85


1           The documents are arguably subject to judicial notice, as
2     they are made available for public inspection on the FEMA
3
      website.      See Victoria v. JPMorgan Chase Bank, 2009 WL 5218040 *2
4
      (E.D.C.A. Dec. 29, 2009).      The statements contained in the
5
      documents are not subject to judicial notice for their truth, nor
6
      are they admissions of a party opponent or government reports.
7

8           As with Exhibit H, these documents have not been properly

9     authenticated for admission through an expert witness for the

10    truth.     Plaintiffs again offer to provide such authentication at
11    a later stage of discovery.       Again, as with Exhibit H, because
12
      Exhibits I through K are unnecessary to the merits ruling on the
13
      pending motions, it is unnecessary to resolve Plaintiffs‘ request
14
      for a Rule 56(d) continuance to secure expert evidence that would
15
      render Exhibits I through K admissible.
16

17
               7.     Exhibits M & N.
18
         Exhibit M - Excerpts from Office of Flood Ins., Fed. Ins.
19       Admin., U.S. Dept. of Housing and Urban Dev., Revised
         Floodplain Management Regulations of the National Flood
20       Insurance Program, Final Environmental Impact Statement (Sept.
         1976), http://www.fema.gov/library/viewRecord.do?id=3271.
21
      FEMA does not object to judicial notice of Exhibit M, which is a
22
      public record.     Plaintiffs‘ request for judicial notice of
23
      Exhibit M is GRANTED.      It will be considered for the truth under
24

25    both Federal Rule of Evidence 801(d)(2)(D) and 803(8).

26
               8.     Exhibit O and O1.
27
            The Declaration of Robert C. Horton in support of
28
                                           15
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 16 of 85


1     Plaintiffs‘ request for judicial notice lists two additional
2     documents, Exhibits O and O1, that were not addressed in any of
3
      Plaintiffs‘ requests for judicial notice.         See Doc. 131
4
      (requesting judicial notice of Exhibits A-N; Doc. 142 (same as to
5
      Exhibit P); Doc. 144 (same as to Exhibits Q-R).          Exhibits O and
6
      O1 are referenced by Plaintiffs in support of their alternative
7

8     request to deny Federal Defendants‘ motion for partial summary

9     judgment pursuant to Federal Rule of Civil Procedure 56(d).

10    Specifically, Exhibit O is a copy of FEMA‘s October 19, 2010
11    letter responding to Plaintiffs‘ request for documents under the
12
      Freedom of Information Act (―FOIA‖).        Exhibit O1 is a copy of a
13
      complaint filed by Plaintiffs on September 8, 2010 against FEMA
14
      alleging FOIA violations.      Both of these documents are judicially
15
      noticeable court records, admissible to demonstrate their
16

17    existence and content, not the truth of or any disputed parts of

18    their contents.
19
                                  III. BACKGROUND
20
      A.    The Endangered Species Act.
21
            The ESA provides for the listing of species as threatened or
22

23    endangered.    16 U.S.C. § 1533.     The Secretaries of Commerce and

24    Interior share responsibility for implementing the ESA.           The

25    Secretary of Commerce has responsibility for listed marine
26    species (including anadromous salmonids) and administers the ESA
27
      through the National Marine Fisheries Service (―NMFS‖).           The
28
                                           16
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 17 of 85


1     Secretary of Interior is responsible for listed terrestrial and
2     inland fish species (including the delta smelt) and administers
3
      the ESA through the United States Fish and Wildlife Service
4
      (―FWS‖).    See id. § 1532(15); 50 C.F.R. §§ 17.11, 402.01(b).
5
            ESA Section 9 prohibits ―any person subject to the
6
      jurisdiction of the United States‖ from ―tak[ing] any such
7

8     species within the United States.‖        16 U.S.C. § 1538(1)(B).

9     ―Take‖ is defined as ―to harass, harm, pursue, hunt, shoot,

10    wound, kill, trap, capture, or collect, or to attempt to engage
11    in any such conduct.‖      Id. § 1532(19).    The ESA‘s citizen suit
12
      provision allows a private plaintiff to bring an action to enjoin
13
      private activities alleged to be in violation of the ESA.             Id. §
14
      1540(g).
15
            Section 7(a)(2) directs each federal agency to insure, in
16

17    consultation with FWS or NMFS (the ―consulting agency‖), that

18    ―any action authorized, funded, or carried out by such agency...
19    is not likely to jeopardize the continued existence of‖ any
20
      listed species or destroy or adversely modify designated critical
21
      habitat.    Id. § 1536(a)(2).     The term ―action‖ is defined as:
22
                  all activities or programs of any kind authorized,
23                funded, or carried out, in whole or in part, by Federal
                  agencies in the United States or upon the high seas.
24                Examples include, but are not limited to:
25                     (a) actions intended to conserve listed species or
                       their habitat;
26
                       (b) the promulgation of regulations;
27
                       (c) the granting of licenses, contracts, leases,
28                     easements, rights-of-way, permits, or grants-in-
                                           17
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 18 of 85


1                      aid; or

2                      (d) actions directly or indirectly causing
                       modifications to the land, water, or air.
3
      50 C.F.R. § 402.02.
4
             If the agency proposing the action (―action agency‖)
5
      determines that the action ―may affect‖ listed species or
6

7     critical habitat, it must pursue either informal or formal

8     consultation.    50 C.F.R. §§ 402.13-402.14.       Formal consultation

9     is required unless the action agency determines, with the
10    consulting agency‘s written concurrence, that the proposed action
11
      is ―not likely to adversely affect‖ a listed species or its
12
      critical habitat.     Id. §§ 402.14(b)(1), 402.13(a).       If formal
13
      consultation is required, the consulting agency must prepare a
14
      biological opinion stating whether the proposed action is likely
15

16    to jeopardize the continued existence of any listed species or

17    destroy or adversely modify critical habitat.          16 U.S.C. §

18    1536(a)(2); 50 C.F.R. § 402.14.
19           The ESA‘s implementing regulations provide that ―Section 7
20
      and the requirements of this part apply to all actions in which
21
      there is discretionary Federal involvement or control.‖           50
22
      C.F.R. § 402.03.     Section 7 does not apply where an agency
23

24    ―simply lacks the power to ‗insure‘ that [its] action will not

25    jeopardize endangered species.‖       See Home Builders, 551 U.S. at

26    667.
27

28
                                           18
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 19 of 85


1     B.    The National Flood Insurance Act and Program.

2           A 2004 decision in a section 7 challenge to FEMA‘s
3     implementation of the NFIP in Puget Sound summarizes the NFIP:
4
            The three basic components of the NFIP are: (1) the
5           identification and mapping of flood-prone communities, (2)
            the requirement that communities adopt and enforce
6           floodplain management regulations that meet certain minimum
            eligibility criteria in order to qualify for flood
7           insurance, and (3) the provision of flood insurance. As part
            of the NFIP, FEMA also implements a Community Rating System
8           (―CRS‖), which provides discounts on flood insurance
            premiums in those communities that establish floodplain
9           management programs that go beyond NFIP's minimum
            eligibility criteria.
10
      Nat‘l Wildlife Fed‘n v. FEMA, 345 F. Supp. 2d 1151, 1155 (W.D.
11
      Wash. 2004) (―NWF v. FEMA‖).
12

13             1.     FEMA‘s Floodplain Management Criteria.
14          Congress created the NFIP to, among other things, ―provid[e]
15    appropriate protection against the perils of flood losses‖ and to
16
      ―minimiz[e] exposure of property to flood losses.‖          42 U.S.C. §
17
      4001(c).      The program seeks to ―encourage State and local
18
      governments to make appropriate land adjustments to constrict the
19
      development of land which is exposed to flood damage and minimize
20
21    damage caused by flood losses.‖       Id. § 4001(e).     To accomplish

22    these objectives, Congress mandated that FEMA ―shall make flood

23    insurance available‖ in communities that have (1) evidenced
24    interest in securing flood insurance through the NFIP and (2)
25
      adopted adequate floodplain management regulations consistent
26
      with criteria developed by FEMA.          See 42 U.S.C. § 4012(c); see
27
      id. § 4022(a); 44 C.F.R. § 60.1(a).         The criteria must be
28
                                           19
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 20 of 85


1     designed to encourage state and local governments to adopt flood
2     plain regulations that will:
3
                  (1) constrict the development of land which is exposed
4                 to flood damage where appropriate,

5                 (2) guide the development of proposed construction away
                  from locations which are threatened by flood hazards,
6
                  (3) assist in reducing damage caused by floods, and
7
                  (4) otherwise improve the long-range land management
8                 and use of flood-prone areas.

9     42 U.S.C. § 4102(c).

10          In 1976, after notice and opportunity for public comment,

11    FEMA promulgated regulations setting forth the minimum floodplain
12    management criteria required by the NFIA.         See 41 Fed. Reg.
13
      46,975 (Oct. 26, 1976); 44 C.F.R. §§ 60.3 (criteria for flood-
14
      prone areas), 60.4 (criteria for mudslide-prone areas), 60.5
15
      (criteria for flood-related erosion-prone areas).          The
16
      regulations have not been amended in any substantive fashion
17

18    since 1997.    See 62 Fed. Reg. 55,706, 55,716 (Oct. 27, 1997).           In

19    order to qualify for flood insurance under the NFIP, a community

20    must adopt and enforce a floodplain management ordinance that
21    meets or exceeds the regulatory criteria.         See 44 C.F.R. §§
22
      59.2(b), 59.22(a)(3), 60.1.
23
            The land management criteria for flood-prone areas require
24
      participating communities to adopt land use ordinances that
25

26    restrict development of land susceptible to flooding.            See 44

27    C.F.R. §§ 60.3, 60.1(d).      In relevant part, the ordinances must

28    require new or substantially improved structures to be built with
                                           20
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 21 of 85


1     the lowest floor at or above the ―base flood elevation.‖              Id. §
2     60.3(c)(2)-(3).      The base flood is the flood that has a one
3
      percent chance of being equaled or exceeded in any given year
4
      (referred to as the ―100-year flood‖).        Id. § 59.1.    The
5
      ordinances also must include effective enforcement provisions.
6
      Id. § 59.2(b).     A community that fails to adequately enforce its
7

8     floodplain management ordinance may be put on probation or

9     suspended from the NFIP.      See 44 C.F.R. § 59.24(b)-(c)

10
               2.    FEMA‘s Floodplain Mapping Activities.
11
            Under the NFIA, Congress directed FEMA to identify and
12
      publish information for floodplain areas nationwide that have
13

14    special flood hazards (referred to as ―Special Flood Hazard

15    Areas‖ or ―SFHAs‖) and to establish flood-risk zone data.             42

16    U.S.C. § 4101.     This data is then transferred onto Flood
17    Insurance Rate Maps (―FIRMs‖).       44 C.F.R. § 59.1.     The SFHA is
18
      the ―land within a community subject to a 1 percent or greater
19
      chance of flooding in any given year,‖ also referred to as the
20
      base flood.    Id.
21

22          The NFIA requires FEMA to assess the need to revise and

23    update FIRMs and flood-risk zones ―based on an analysis of all

24    natural hazards affecting flood risks.‖         42 U.S.C. § 4101(e)-(f).
25    State or local governments may request FIRM revisions, provided
26
      they submit sufficient technical data to justify the request.
27
      See 42 U.S.C. § 4101(f)(2).       Individual landowners may also
28
                                           21
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 22 of 85


1     request that a FIRM be revised by requesting a LOMC.           See 44
2     C.F.R. §§ 65.4-65.8; 44 C.F.R. pt. 72; 42 U.S.C. § 4104; Norton
3
      Decl., Doc. 124, at ¶ 6.
4

5              3.    Letters of Map Change

6           FEMA periodically revises FIRMs by either publishing a new

7     FIRM or by making minor changes or corrections through Letters of
8     Map Revisions (―LOMRs‖) or Letters of Map Amendments (―LOMAs‖),
9
      collectively LOMCs.     44 C.F.R. pts. 70, 72; Norton Decl., Doc.
10
      124, at ¶ 6.    A LOMR is a modification of the effective FIRM
11
      ―based on the implementation of physical measures that affect the
12
      hydrologic or hydraulic characteristics of a flooding source and
13

14    thus result in a modification of the existing regulatory

15    floodway[], the effective [BFEs] or the SFHA.‖          44 C.F.R. § 72.2.

16    A LOMR may also be issued as a result of updated flood hazard
17    data that requires a modification of the FIRM.          See 44 C.F.R. §§
18
      65.4-65.6; Norton Decl., Doc. 124, ¶ 6.b.         Any LOMR affecting
19
      flood elevation levels is subject to the administrative and
20
      judicial review procedures set forth in Section 4104 of the NFIA.
21

22    See 44 C.F.R. pt. 67; Great Rivers Habitat Alliance v. FEMA, 615

23    F.3d 985, 989 (8th Cir. 2010).

24          FEMA may issue a LOMR based on fill activities (―LOMR-F‖),
25    which is a ―modification of the SFHA shown on the FIRM based on
26
      the placement of fill outside the existing regulatory floodway.‖
27
      44 C.F.R. § 72.2.     If issued, a LOMR-F revises the SFHA boundary
28
                                           22
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 23 of 85


1     by letter to exclude the elevated property from the coverage
2     under the SFHA.     Norton Decl., Doc. 124, at ¶ 6.c.
3
             By the time any LOMR, including an LOMR-F, is requested, the
4
      project (in the case of an LOMR-F, the placement of fill) will
5
      have already been completed.       An individual LOMR itself does not
6
      authorize, permit, fund, license, zone or otherwise approve
7

8     construction of any projects in the floodplain.           Norton Decl., ¶¶

9     6.b, 6.c & Ex. B at 2, 6.

10           A Letter of Map Amendment (―LOMA‖) is an official
11    determination by FEMA that a property has been inadvertently
12
      included in the SFHA or regulatory floodway, and the LOMA amends
13
      the FIRM to correct the error.       44 C.F.R. § 70.5; Norton Decl., ¶
14
      6.a.   A property owner who believes his property has been
15
      inadvertently included in the floodplain may request a LOMA to
16

17    establish the property's actual location in relation to the SFHA.

18    Id.5
19
               4.    Conditional Letters of Map Change.
20
             In advance of completing a project (e.g., a fill activity),
21

22
      5
        The parties also mention the term ―LOMC Validation.‖ When FEMA issues a new
23    FIRM, it automatically supersedes previously issued LOMCs for the covered
      area. Frequently, however, the results of prior LOMCs cannot be shown on the
24    revised FIRM due to map scale limitations. In recognition that some LOMCs may
      still be valid even though the flood hazard information on the FIRM has been
25    revised, FEMA has established an automatic process for revalidating LOMCs.
      Specifically, FEMA will issue a LOMC Validation letter to the relevant
26    community that identifies: (1) the LOMCs that will be depicted in the revised
      FIRM; (2) the LOMCs that are no longer valid based on new detailed flood
27    hazard data; and (3) those LOMCs whose results could not be mapped and shown
      on the revised FIRM panel(s) because of map scale limitations or because the
28    affected areas were determined to be outside the SFHA shown on the effective
      FIRM. Norton Decl., ¶ 7 & Ex. A at 8-9.
                                           23
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 24 of 85


1     a community or individual may request FEMA‘s comments as to
2     whether a proposed project, if built as proposed, would result in
3
      a FIRM revision.      FEMA's comments in response to such a request
4
      are issued in the form of a Conditional Letter of Map Amendment
5
      (―CLOMA‖), Conditional Letter of Map Revision (―CLOMR‖), or
6
      Conditional Letter of Map Revision based on Fill (―CLOMR-F‖).             44
7

8     C.F.R. § 65.8, pt. 70, pt. 72; Norton Decl., ¶ 8 & Ex. B.             A

9     CLOMA is FEMA's comment on whether a proposed structure would,

10    upon construction, be located on existing natural ground above
11    the BFE.    44 C.F.R. § 72.2.     CLOMA requests do not involve any
12
      projects that physically modify the floodplain.          Id.   A CLOMR is
13
      FEMA's comment on whether a project would be compliant with
14
      applicable NFIP regulations and would, upon construction, result
15
      in modification of the BFE, the SFHA, or other flood hazard data
16

17    depicted on a FIRM.       Id.   A CLOMR-F is FEMA's comment on whether

18    a project would, upon construction, be elevated above the BFE and
19    therefore out of the SFHA through the placement of engineered
20
      fill.    Id.
21
              FEMA mandates that a party requesting a CLOMR or CLOMR-F
22
      provide information demonstrating that the proposed project
23
      complies with the ESA:
24

25                   The CLOMR-F or CLOMR request will be processed by FEMA
                     only after FEMA receives documentation from the
26                   requester that demonstrates compliance with the ESA.
                     The request must demonstrate ESA compliance by
27                   submitting to FEMA either an Incidental Take Permit,
                     Incidental Take Statement, ―not likely to adversely
28                   affect‖ determination from [NMFS and FWS] or an
                     official letter from [NMFS and FWS] concurring that the
                                           24
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 25 of 85


1                   project has ―No Effect‖ on listed species or critical
                    habitat. If the project is likely to cause jeopardy to
2                   listed species or adverse modification of critical
                    habitat, then FEMA shall deny the conditional LOMC
3                   request.

4     See Norton Decl., Ex. B at 3.         If the project requires a federal
5     permit or other form of federal authorization, ―the applicant may
6
      coordinate with that agency to demonstrate to FEMA that Section 7
7
      ESA compliance has been achieved through that other Federal
8
      agency.‖      Id. at 6.   If no federal agency is involved and a
9
      listed species may be harmed by the project, the applicant ―would
10

11    be required to obtain [ESA] compliance through the Section 10

12    process.      This process includes applying for an Incidental Take

13    Permit (‗ITP‘) [from NMFS or FWS] and preparing a habitat
14    conservation plan.‖       Id. at 5.
15

16             5.     The Issuance Of Flood Insurance Within Participating
                      Communities.
17
            Congress found that ―many factors have made it uneconomic
18
      for the private insurance industry alone to make flood insurance
19
      available to those in need of such protection on reasonable terms
20
      and conditions‖ and, therefore, authorized the creation of the
21

22    NFIP ―with large-scale participation of the Federal Government

23    and carried out to the maximum extent practicable by the private
24    insurance industry.‖      42 U.S.C. § 4001(b).     Congress mandated
25
      that FEMA carry out a ―program which will enable interested
26
      persons to purchase insurance against loss resulting from
27
      physical damage to or loss of real property or personal property
28
                                            25
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 26 of 85


1     related thereto arising from any flood occurring in the United
2     States.‖    Id. § 4011(a).
3
            FEMA‘s role in selling or underwriting flood insurance is
4
      defined as follows:
5
                  The Director shall make flood insurance available in
6                 only those States or areas (or subdivisions thereof)
                  which he has determined have -
7
                       (1) evidenced a positive interest in securing
8                      flood insurance coverage under the flood insurance
                       program, and
9
                       (2) given satisfactory assurance that by December
10                     31, 1971, adequate land use and control measures
                       will have been adopted for the State or area (or
11                     subdivision) which are consistent with the
                       comprehensive criteria for land management and use
12                     developed under section 4102 of this title . . .
13    42 U.S.C. § 4012(c).
14          Federal flood insurance is marketed to the public in one of
15
      two ways:    directly by FEMA, or through the Write Your Own
16
      ("WYO") program, which authorizes FEMA to ―enter into
17
      arrangements with individual private sector property insurance
18
      companies [WYO companies]‖ whereby such companies ―may offer
19

20    flood insurance coverage under the program to eligible

21    applicants.‖    44 C.F.R. § 62.23(a); 42 U.S.C. § 4081(a).            The

22    purpose of the WYO program is ―to provide coverage to the maximum
23    number of structures at risk and because the insurance industry
24
      has marketing access through its existing facilities not directly
25
      available to the FIA, it has been concluded that coverage will be
26
      extended to those who would not otherwise be insured under the
27

28    Program.‖    44 C.F.R. pt. 62, App. A Art. I.

                                           26
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 27 of 85


1     C.    The Impact of Development on the Delta.

2           For purposes of their motion for partial summary judgment,
3     Federal Defendants do not challenge Plaintiffs‘ allegations
4
      regarding the impact of development activities on the Delta and
5
      the listed species.     These are undisputed facts.
6
            The Sacramento-San Joaquin Delta is the largest estuary on
7
      the West Coast.     TAC ¶ 1.   The Delta is crucial to California‘s
8

9     economy and provides critical ecosystem services to the State.

10    TAC ¶ 1.    The Delta also supports more than 750 plant and animal

11    species, including 130 fish species, and provides critical
12    habitat for a number of ESA listed species including the
13
      Sacramento River winter-run Chinook salmon, the Central Valley
14
      spring-run Chinook salmon, the Central Valley steelhead,
15
      (collectively, the ―Listed Salmonids‖), and the delta smelt,
16
      (collectively, the ―Listed Species‖).         TAC ¶ 2.
17

18          Plaintiffs allege that Development in the Delta has

19    eliminated much of the historical habitat of native Delta fishes
20    and harmed the remaining habitat.         TAC ¶¶ 79-80.   According to
21
      the United States Geological Survey, more than 95 percent of the
22
      historic tidal marshes in the Delta have been leveed and
23
      experienced attendant losses in fish and wildlife habitat.            TAC ¶
24
      8.   Development in the Delta has resulted in the clearing of
25

26    riparian habitat along the Sacramento River, which reduces the

27    volume of large wood debris needed to form and maintain the

28    stream habitat that salmon depend on in their various life
                                           27
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 28 of 85


1     stages.   TAC ¶ 81.    In addition, development leads to increased
2     sedimentation, which can adversely affect salmonids during all
3
      freshwater life stages.      Id.   Other land use activities
4
      associated with development, such as road construction, have
5
      significantly altered the fish habitat quantity and quality by
6
      altering the streambank and channel morphology, altering water
7

8     temperatures, and eliminating spawning and rearing habitat.             Id.

9     Increased development in the Delta also increases wastewater and

10    urban runoff from lawns, sidewalks, and roads.          TAC ¶ 80.     Such
11    runoff contains pesticides and other contaminants harmful to the
12
      Listed Species.     Id.
13
            According to NMFS, development in floodplains and adjacent
14
      riparian habitat is among the activities that can pose a high
15
      risk of take of salmonids:
16

17                Shoreline and riparian disturbances (whether in the
                  riverine, estuarine, marine, or floodplain environment)
18                may retard or prevent the development of certain
                  habitat characteristics upon which the fish depend
19                (e.g., removing riparian trees reduces vital shade and
                  cover, floodplain gravel mining, development, and
20                armoring shorelines reduces the input of critical
                  spawning substrates, and bulkhead construction can
21                eliminate shallow water rearing areas).

22    65 Fed. Reg. 42,422, 42,473 (July 10, 2000); see also 58 Fed.

23    Reg. at 33,214 (―In the Sacramento River, critical habitat [for
24    winter-run Chinook salmon] includes the river water, river
25
      bottom, and the adjacent riparian zone....         [R]iparian
26
      streambanks ... support[] vegetation that either overhangs or
27
      protrudes into the water and, consequently, provides shade and
28
                                           28
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 29 of 85


1     escape cover for salmonids and other wildlife... [and] also
2     increases river productivity which, in turn, provides prey for
3
      salmonids.‖).    NMFS has also determined that ―concentrations of
4
      pesticides may affect salmonid behavior and reproductive
5
      success.‖    65 Fed. Reg. at 42,473.
6
            Plaintiffs allege that under FEMA‘s mapping regulations,
7

8     communities and private landowners may place fill or construct

9     levees to remove land from the regulatory floodplain, thereby

10    enabling them to avoid the requirement to obtain flood insurance.
11    See TAC at ¶¶ 70-71.
12

13    D.    No Formal Consultation.

14          FEMA does not contend that it has formally consulted with

15    NMFS over the NFIP's impacts on the Listed Species in the Delta.

16
                             IV. STANDARD OF DECISION
17
            ―A party against whom relief is sought may move, with or
18

19    without supporting affidavits, for summary judgment on all or

20    part of the claim.‖     Fed. R. Civ. P. 56(b).      ―The standard

21    applied to a motion for partial summary judgment is identical to
22    the standard applied to adjudicate a case fully by summary
23
      judgment.‖    Urantia Found. v. Maaherra, 895 F. Supp. 1335, 1335
24
      (D. Ariz. 1995).     ―A court may grant summary adjudication -- also
25
      known as partial summary judgment -- if there is no genuine
26
      dispute of material fact as to a portion of a claim or issue and
27

28    the moving party is entitled to judgment as a matter of law.‖
                                           29
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 30 of 85


1     Prado v. Allied Domecq Spirits and Wine Group Disability Income
2     Policy, 2010 WL 3119934, at *2 (N.D. Cal. Aug. 2, 2010) (citing
3
      Fed. R. Civ. P. 56(c)).
4
            ―A party seeking summary judgment bears the initial burden
5
      of informing the court of the basis for its motion and of
6
      identifying those portions of the pleadings and discovery
7

8     responses that demonstrate the absence of a genuine issue of

9     material fact.‖     Soremekun v. Thrifty Payless, Inc., 509 F.3d

10    978, 984 (9th Cir. 2007).      Where, as here, the movant seeks
11    summary judgment on a claim or issue on which the non-movant
12
      bears the burden of proof, the movant ―can prevail merely by
13
      pointing out that there is an absence of evidence to support the
14
      nonmoving party's case.‖      Id.   ―If the moving party meets its
15
      initial burden, the non-moving party must set forth, by affidavit
16

17    or as otherwise provided in Rule 56, ‗specific facts showing that

18    there is a genuine issue for trial.‘‖        Id. (quoting Anderson v.
19    Liberty Lobby, Inc., 477 U.S. 242, 250 (1986)).          ―Conclusory,
20
      speculative testimony in affidavits and moving papers is
21
      insufficient to raise genuine issues of fact and defeat summary
22
      judgment.‖    Soremekun, 509 F.3d at 984; see also Lujan v.
23
      National Wildlife Fed‘n, 497 U.S. 871, 888-89 (1990).
24

25          Under the APA, agency action must be upheld, unless it is

26    ―arbitrary, capricious, and abuse of discretion, or otherwise not

27    in accordance with law.‖      5 U.S.C. § 706(2)(A).      A court may not
28    set aside agency action that ―is rational, based on consideration
                                      30
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 31 of 85


1     of the relevant factors and within the scope of authority
2     delegated to the agency by the statute....‖         The scope of review
3
      under the ‗arbitrary and capricious‘ standard is narrow, and a
4
      court is not to substitute its judgment for t hat of the agency.‖
5
      Motor Vehicle Mfrs. Ass‘n v. State Farm Mut. Auto. Ins. Co., 463
6
      U.S. 29, 42-43 (1983).      The scope of judicial review is limited
7

8     to the Administrative Record before the agency at the time the

9     challenged decision was made.       Florida Power & Light Co. v.

10    Lorion, 470 U.S. 729, 743-44 (1985).
11          Where, as here, the claim for relief is that a federal
12
      agency failed to consult under ESA § 7, there is no
13
      administrative record of a consultation to limit the court‘s
14
      scope of review.     See Wash. Toxics Coal. v. EPA, 413 F.3d 1024,
15
      1034 (9th Cir. 2005) (―Because [the ESA] independently authorizes
16

17    a private right of action, the APA does not govern the

18    plaintiff‘s claims [for failure to consult].         Plaintiff‘s suits
19    to compel agencies to comply with the substantive provisions of
20
      the ESA arise under the ESA citizen suit provision, and not the
21
      APA.‖ (citations omitted)).
22

23                                  V. DISCUSSION
24    A.    Elements of an ESA Section 7 Claim.
25          To prevail on a claim against a federal agency under ESA
26    Section 7(a)(2), the plaintiff must establish that the agency has
27
      ―authorized, funded, or carried out‖ ―any action‖ without the
28
                                           31
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 32 of 85


1     benefit of consultation.      See 16 U.S.C. § 1536(a)(2).       NMFS and
2     FWS have interpreted ―action‖ to mean ―all activities or programs
3
      of any kind authorized, funded, or carried out, in whole or in
4
      part, by Federal agencies in the United States or upon the high
5
      seas.‖   50 C.F.R. § 402.02 (emphasis added).        ―Examples [of
6
      agency action] include, but are not limited to ... actions
7

8     intended to conserve listed species or their habitat; ... the

9     promulgation of regulations; ... [¶] or ... actions directly or

10    indirectly causing modifications to the land, water, or air.‖
11    Id.
12
            Second, the agency action must be one that ―may affect‖
13
      listed species or critical habitat.        50 C.F.R. § 402.14(a).     If
14
      an agency action may affect the Listed Species or their critical
15
      habitat, even in a beneficial way, consultation is required.
16

17    Cal. ex rel. Lockyer v. U.S. Dep‘t of Agric., 575 F.3d 999, 1018-

18    19 (2009) (citing 51 Fed. Reg. 19,926, 19,949 (June 3, 1996)
19    (―Any possible effect, whether beneficial, benign, adverse or of
20
      an undetermined character, triggers the formal consultation
21
      requirement....‖)).     However, where the action will not affect
22
      the listed species at all, the consultation duty is not
23
      triggered.    See S.W. Ctr. for Biological Diversity v. U.S. Forest
24

25    Serv., 100 F.3d 1443, 1447-48 (9th Cir. 1996).

26
      B.    Does the Statute of Limitations bar Plaintiffs‘ Challenge to
27          FEMA‘s Implementation of the Floodplain Management Criteria.

28          Because the ESA contains no express statute of limitations,
                                           32
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 33 of 85


1     the applicable statute of limitations is found in title 28 U.S.C.
2     § 2401(a), the general statute of limitations for civil actions
3
      against the federal government.       See Alsea Valley Alliance v.
4
      Evans, 161 F. Supp. 2d 1154, 1160 (D. Or. 2001).          Section 2401(a)
5
      provides: ―Every civil action commenced against the United States
6
      shall be barred unless the complaint is filed within six years
7

8     after the right of action first accrues.‖

9        ―Under federal law a cause of action accrues when the plaintiff

10    is aware of the wrong and can successfully bring a cause of
11    action.‖    Acri v. Intl. Ass'n of Machinists, 781 F.2d 1393, 1396
12
      (9th Cir. 1986).     ―Publication in the Federal Register is legally
13
      sufficient notice to all interested or affected persons
14
      regardless of actual knowledge or hardship resulting from
15

16
      ignorance.‖    Shiny Rock Mining Corp. v. United States, 906 F.2d

17    1362, 1364 (9th Cir. 1990) (internal citation and quotation

18    omitted).
19          FEMA admits that FEMA‘s promulgation of the regulations
20
      containing the minimum floodplain management criteria, 44 C.F.R.
21
      §§ 60.3-60.5, is the type of affirmative ―action‖ that can
22
      trigger a duty to consult under the ESA.         See 50 C.F.R. § 402.02
23
      (defining ―action‖ to include ―the promulgation of regulations‖).
24

25    However, it is undisputed that these regulations were promulgated

26    in 1976 and last substantively amended in 1997.          See 41 Fed. Reg.

27    46,975 (Oct. 26, 1976); 62 Fed. Reg. 55,706, (Oct. 27, 1997).
28    Any challenge to the promulgation of those regulations is barred
                                      33
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 34 of 85


1     by the six-year statute of limitations.
2           The statute of limitations also bars any substantive
3
      challenge by Plaintiffs to the validity of the regulations
4
      themselves.    ―After the six-year limitations period has expired,
5
      a challenge to the validity of an agency‘s rule can only be
6
      attacked in two ways: (1) through an ‗as applied‘ challenge
7

8     requesting judicial review of the agency‘s adverse application of

9     the rule to the particular challenger, or (2) by petitioning the

10    agency for amendment or rescission of the rule and then appealing
11    the agency‘s decision.‖      Oksner v. Blakey, 2007 WL 3238659, at *6
12
      (N.D. Cal. Oct. 31, 2007) (citing Wind River Min. Corp. v. United
13
      States, 946 F.2d 710, 715 (9th Cir. 1991)).
14
            FEMA has not taken any action applying the NFIP regulations
15
      to Plaintiffs.     Plaintiffs maintain instead the statute of
16

17    limitations does not bar this action because FEMA continues to

18    administer and enforce the regulations by providing technical
19    advice, conducting community visits, reviewing participating
20
      communities‘ land management ordinances, and retaining authority
21
      to suspend a community for noncompliance.         See TAC ¶ 75.
22
            Federal Defendants cite Cedars-Sinai Medical Ctr. v.
23
      Shalala, 177 F.3d 1126 (9th Cir. 1999), for the proposition that
24

25    ―allowing suit whenever a regulation was administered by a

26    federal agency would virtually nullify the statute of limitations

27    for challenges to agency orders.‖        Id. at 1129 (internal
28    quotations and citations omitted).        However, Cedars-Sinai is an
                                      34
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 35 of 85


1     APA case in which Plaintiffs challenged procedural errors in the
2     promulgation of a regulation, a cause of action that accrues upon
3
      the issuance of the rule.      Id.   The Ninth Circuit rejected the
4
      argument that the cause of action did not accrue until the
5
      administrative agency applied the challenged regulations to the
6
      hospital appellees.     Id.   Cedars-Sinai is not dispositive in this
7

8     case.    Here, Plaintiffs do not challenge the validity of the

9     rules themselves, but rather whether FEMA‘s implementation of

10    those rules is subject to the consultation requirements set forth
11    in the ESA.
12
              More relevant here are a series of cases applying the ESA to
13
      ―ongoing‖ agency programs.       These cases fall into two broad
14
      categories:
15
                   (1) where the agency retains discretion under a plan or
16

17                 program to act on behalf of listed species and

18                 thereafter continues to act pursuant to that discretion
19                 on an ongoing basis, Pacific Rivers Council v. Thomas,
20
                   30 F.3d 1050, 1055 (9th Cir. 1994); Washington Toxics
21
                   Coalition v. EPA, 413 F.3d 1024, 1032 (9th Cir. 2005);
22
                   Turtle Island Restoration Network v. NMFS, 340 F.3d
23
                   969, 977 (9th Cir. 2003); and
24

25                 (2) where the agency either has not retained any

26                 discretion to act on behalf of the species or the

27                 nature of any discretion retained is insufficient to
28                 constitute discretionary ―involvement or control‖ that
                                         35
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 36 of 85


1                   might trigger a consultation obligation, Karuk Tribe of
2                   Cal. v. U.S. Forest Service, 640 F.3d 979 (9th Cir.
3
                    2011); Cal. Sportfishing Protection Alliance v. FERC,
4
                    472 F.3d 593 (9th Cir. 2006); Western Watersheds
5
                    Project v. Matejko, 468 F.3d 1099 (9th Cir. 2006);
6
                    Sierra Club v. Babbitt, 65 F.3d 1502 (9th Cir. 2005);
7

8                   Envt‘l Protection Info. Ctr. v. Simpson Timber Co., 255

9                   F.3d 1073 (9th Cir. 2001) (―EPIC‖).6

10    See Center for Biological Diversity v. Chertoff, 2009 WL 839042,
11    *5 (N.D. Cal. 2009) (reviewing caselaw and generally defining the
12
      two categories described above).
13

14             1.     Ongoing Agency Action Cases.

15          Pacific Rivers Council v. Thomas, 30 F.3d 1050, 1055 (9th
16    Cir. 1994), concerned a 1990 Long Range Management Plan (―LRMP‖)
17    promulgated under the National Forest Management Act, 16 U.S.C.
18
      §§ 1600-1614, et seq., for two National Forests in Oregon.             After
19
      the 1992 listing of the Snake River Chinook salmon as threatened
20
      under the ESA, an environmental organization sued the Forest
21

22    Service, arguing that the agency was not complying with its duty

23    6
        Federal Defendants attempt to distinguish Pacific Rivers, Washington Toxics,
      and Turtle Island on the ground that the statute of limitations was not at
24    issue in any of those cases. However, Pacific Rivers and its progeny create
      an ―ongoing agency action‖ doctrine that, when appropriate, precludes
25    application of the six year statute of limitations to actions that are ongoing
      at the time a complaint is filed. See Cloud Foundation Inc. v. Kempthorne,
26    546 F. Supp. 2d 1003, 1011 (D. Mont. 2008) (acknowledging that Pacific Rivers
      stands for the proposition that certain management plans ―governing future and
27    ongoing projects may constitute continuing agency action‖ not subject to the
      six year statute of limitations); Center for Biological Diversity v. Chertoff,
28    2009 WL 839042 (N.D. Cal. 2009)(same). The more pertinent question is which
      of the two lines of authority controls here.
                                           36
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 37 of 85


1     to consult with NMFS over the impacts of the LRMP on the species.
2     Id. at 1052-53.     The Ninth Circuit rejected the Forest Service‘s
3
      argument that LRMPs are not agency actions under § 7(a)(2):
4
                  The LRMPs are comprehensive management plans governing
5                 a multitude of individual projects. Indeed, every
                  individual project planned in both national forests
6                 involved in this case is implemented according to the
                  LRMPs. Thus, because the LRMPs have an ongoing and
7                 long-lasting effect even after adoption, we hold that
8                 the LRMPs represent ongoing agency action. We affirm
                  the district court's decision requiring the Forest
9                 Service to consult with the NMFS as required under the
                  ESA, 16 U.S.C. § 1536(a)(2).
10
      Id. at 1053.    A broad definition of ―action‖ under the ESA was
11

12    adopted:

13                [A]s the Supreme Court emphasized in TVA v. Hill, 437
                  U.S. 153, 173 (1978), ―one would be hard pressed to
14                find a statutory provision whose terms were any plainer
                  than those in § 7 of the [ESA].‖ The ESA's plain
15                language affirmatively commands all federal agencies to
                  ―insure that any action authorized, funded, or carried
16
                  out by such agency ... is not likely to jeopardize the
17                continued existence of any endangered species or
                  threatened species or result in the destruction or
18                adverse modification of habitat of such species....‖ 16
                  U.S.C. § 1536(a)(2) (emphasis added). ―This language
19                admits of no exception.‖ TVA, 437 U.S. at 173. The
                  regulations defining agency action also admit of no
20
                  limitations:
21
                        Action means all activities or programs of any
22                      kind authorized, funded, or carried out, in whole
                        or in part, by Federal agencies in the United
23                      States or upon the high seas. Examples include,
                        but are not limited to:
24

25                           (a) actions intended to conserve listed
                             species or their habitat;
26
                             (b) the promulgation of regulations;
27
                             (c) the granting of licenses, contracts,
28                           leases, easements, rights-of-way, permits, or
                                         37
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 38 of 85


1                            grants-in-aid; or
2                            (d) actions directly or indirectly causing
                             modifications to the land, water, or air.
3

4                 50 C.F.R. § 402.02 (emphasis added).

5                 In short, there is little doubt that Congress intended
                  to enact a broad definition of agency action in the
6                 ESA, and therefore that the LRMPs are continuing agency
                  action. Indeed, the Supreme Court has interpreted the
7                 plain meaning of agency action broadly, in conformance
8                 with Congress's clear intent, in a case that presents
                  striking similarities to this case. In TVA v. Hill, the
9                 Court rejected the Tennessee Valley Authority's
                  contention that the ESA did not apply to a federal
10                project (a $102 million dollar dam) that was well under
                  way when Congress passed the ESA in 1973. TVA, 437 U.S.
11                at 173. The Court noted that ―[t]o sustain [this]
12                position ... we would be forced to ignore the ordinary
                  meaning of [the] plain language [in § 7(a)(2) ].‖ Id.
13                Although the dam had been planned and approved years
                  before the passage of the ESA, the Court found that
14                TVA's operation of the dam constituted agency action,
                  and it enjoined the dam's operation. Id. The Court
15                recognized that its reading of the ESA would produce
                  results requiring the sacrifice of many millions of
16
                  dollars in public funds. But it asserted that ―Congress
17                has spoken in the plainest of words, making it
                  abundantly clear that the balance has been struck in
18                favor of affording endangered species the highest of
                  priorities, thereby adopting a policy which it
19                described as ‗institutionalized caution.‘ ‖ Id. at 194.
20
      Id. at 1053-55 (emphasis added, footnotes omitted).          The Ninth
21
      Circuit also rejected the Forest Service‘s argument that LRMP are
22
      agency actions only at the time they are adopted, revised, or
23
      amended.
24

25                In this action, the Forest Service makes ... the ...
                  argument[] that the ESA does not apply to programs or
26                activities undertaken before the listing of a species.
                  It argues that it is not required to reinitiate
27                consultation because the LRMPs are not continuing
                  agency actions, but are agency actions only at the time
28                they are adopted, revised, or amended. It further
                                        38
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 39 of 85


1                   maintains that the existence of the LRMPs by themselves
                    are not agency actions. Rather, only the specific
2                   activities authorized by the LRMPs are agency actions
                    within the meaning of the ESA. The LRMPs themselves,
3
                    the Service argues, do not mandate any action and are
4                   ―merely‖ programmatic documents.

5                   However, the Forest Service can cite no precedent of
                    this or any other court which lends support to such a
6                   reading of the statute. And as shown above, TVA weighs
                    heavily against the Forest Service on this point, as is
7                   evident from the TVA Court's observation that ―Congress
8                   foresaw that § 7 would, on occasion, require agencies
                    to alter ongoing projects in order to fulfill the goals
9                   of the Act.‖ Id. at 186.

10                  Following the Supreme Court's lead in TVA, we have also
                    construed ―agency action‖ broadly. See Lane County
11                  Audubon Soc'y v. Jamison, 958 F.2d 290, 294 (9th Cir.
12                  1992); Conner v. Burford, 848 F.2d 1441, 1452 (9th Cir.
                    1988), cert. denied, 489 U.S. 1012 (1989). More
13                  importantly, we have recognized that forest management
                    plans have ongoing effects extending beyond their mere
14                  approval. In Lane County, we found that a forest
                    management plan implemented without consultation
15                  violated the ESA. Although the management plan in that
                    case was implemented after the listing of the
16
                    threatened species, our reasoning is relevant. We
17                  stated that the ―[forest management plan] is action
                    that ‗may affect‘ the spotted owl, since it sets forth
18                  criteria for harvesting owl habitat.‖ Lane County, 958
                    F.2d at 294. Thus, we implicitly recognized that forest
19                  management plans can be actions even after their
                    implementation.
20
                                         ***
21                  Given the importance of the LRMPs in establishing
                    resource and land use policies for the forests in
22                  question there is little doubt that they are continuing
                    agency action under § 7(a)(2) of the ESA. The fact that
23                  the Forest Service adopted these LRMPs before the
                    listing of the Snake River chinook is, therefore,
24                  irrelevant. We affirm the district court's order
25                  requiring the Forest Service to reinitiate consultation
                    under § 7(a)(2)
26
      Id. at 1055-56 (emphasis added, footnotes omitted).7 8
27

28    7
          The Ninth Circuit‘s conclusion that ongoing implementation of an LRMP is
                                              39
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 40 of 85


1           Turtle Island Restoration Network v. NMFS, 340 F.3d 969 (9th
2     Cir. 2003) concerned the High Seas Fishing Compliance Act
3
      (―Compliance Act‖), passed in 1995 to implement various
4
      international conventions applicable to fishing vessels on the
5
      ―action‖ for purposes of the ESA has been expressly rejected by the Tenth
6     Circuit, which reasoned that:

7           Contrary to Pacific Rivers, our analysis makes painfully apparent that
            "standards," "guidelines," "policies," "criteria," "land designations,"
8           and the like appearing within a LRMP do not constitute "action"
            requiring consultation under § 7(a)(2) of the ESA. A contrary view would
9           be the equivalent of saying that agency regulations constitute ongoing
            action because such regulations continually affect what goes on in the
10          forest. Of course, the very definition of "action" in § 402.02 tells us
            that the "promulgation of regulations," not the regulations themselves,
11          constitutes "action." 50 C.F.R. § 402.02 (emphasis added). We have no
            quarrel with the proposition that LRMPs may have "an ongoing and long-
            lasting effect" on the forest. That's the very purpose of a LRMP—to
12          guide management decisions regarding the use of forest resources and to
            establish to a substantial degree what is permitted to occur within the
13          forest. But this does not alter our conclusion that the entirety of
            LRMPs do not constitute § 7 "action." Instead, "activities or programs
14          ... authorized, funded, or carried out," by the Forest Service are the
            "action" of which § 7(a)(2) speaks. 16 U.S.C. § 1536(a)(2); 50 C.F.R. §
15          402.02. A LRMP simply does not fit within this definition.

16    Forest Guardians v. Forsgren, 478 F.3d 1149, 1159 (10th Cir. 2007) (footnote
      omitted).
17    8
        FEMA attempts to distinguish Pacific Rivers and its progeny on the grounds
18    that the LRMP in Pacific Rivers indisputably and directly dictated the terms
      of hundreds of ongoing federal activities on federal lands that affected
19    listed species. Here, by contrast, Plaintiffs complain that FEMA‘s ongoing
      administration of the NFIP will indirectly influence the actions of third
      parties. See Doc. 129 at 31. This is a distinction without a difference
20    under the ESA. The ESA‘s implementing regulations define ―effects of the
      action‖ as follows:
21
            Effects of the action refers to the direct and indirect effects of an
22          action on the species or critical habitat, together with the effects of
            other activities that are interrelated or interdependent with that
23          action, that will be added to the environmental baseline.... Indirect
            effects are those that are caused by the proposed action and are later
24          in time, but still are reasonably certain to occur....

25    50 C.F.R. § 402.02; see also Florida Key Deer v. Paulison, 522 F.3d 1133, 1142
      (11th Cir. 2008) (citing § 402.02 to reject similar argument that the issuance
26    of flood insurance is not a legally relevant ―cause‖ of development that
      threatened the listed Florida Key Deer). Plaintiffs‘ claims are not barred as
27    a matter of law simply because they allege that a federal action indirectly
      causes third parties to harm listed species.
28
                                           40
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 41 of 85


1     high seas.     Id. at 973 (citing 16 U.S.C. § 5501).       The Compliance
2     Act requires American vessels to obtain permits to engage in
3
      fishing operations on the high seas and authorizes NMFS to
4
      promulgate regulations implementing the act.         Id. (citing 16
5
      U.S.C. §§ 5504-5506).      The Ninth Circuit examined the language of
6
      the Compliance Act:
7

8                  The plain language of the Compliance Act provides
                   Fisheries Service with ample discretion to protect
9                  listed species. The intent of the Compliance Act was to
                   implement the ―Agreement to Promote Compliance with
10                 International Conservation and Management Measures by
                   Fishing Vessels on the High Seas‖ and ―to establish a
11                 system of permitting, reporting, and regulation for
12                 vessels of the United States fishing on the high seas.‖
                   16 U.S.C. § 5501. The ―Conditions‖ subsection provides
13                 that ―[t]he Secretary shall establish such conditions
                   and restrictions on each permit issued under this
14                 section as are necessary and appropriate to carry out
                   the obligations of the United States under the
15                 Agreement, including but not limited to ‖ the markings
                   of the boat and reporting requirements. 16 U.S.C. §
16
                   5503(d) (emphasis added).
17
      Id. at 975-76.     The Ninth Circuit reasoned that NMFS‘s
18
      ―continuing issuance of fishing permits‖ under the Compliance Act
19
      ―constitutes ongoing agency action‖ and that the Compliance Act
20
21    ―entrusts [NMFS] with substantial discretion to condition permits

22    to inure to the benefit of the listed species.‖          Id. at 976; see
23    also Klamath Water Users Protective Ass‘n v. Patterson, 204 F.3d
24    1206, 1213 (9th Cir. 1999) (explaining ―well-settled‖ rule that
25
      ―contractual arrangements can be altered by subsequent
26
      Congressional legislation‖ so long as the federal agency retains
27
      some measure of control over the activity); NRDC v. Houston, 146
28
                                           41
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 42 of 85


1     F.3d 1118, 1125 (9th Cir. 1998) (section 7(a)(2) applies to
2     negotiating and executing water contracts, where agency retained
3
      discretion to change previously negotiated terms).
4
            Washington Toxics Coalition v. EPA, 413 F.3d 1024, 1032 (9th
5
      Cir. 2005), concerned EPA‘s process of registering pesticide
6
      active ingredients under the Federal Insecticide, Fungicide, and
7

8     Rodenticide Act (―FIFRA‖).        EPA argued that once a pesticide has

9     been approved for use under FIFRA, the agency lacked discretion

10    to meet any other legal obligations with respect to that
11    registration.    Id. at 1032-33.      Following Pacific Rivers and
12
      Turtle Island, the Ninth Circuit disagreed, reasoning that EPA
13
      did in fact retain ongoing discretion to alter and/or cancel
14
      pesticide registrations.      Id. at 1033.     Therefore, EPA has a
15
      continuing obligation to apply the requirements of the ESA to the
16

17    registered pesticides.      Id.

18
                2.   EPIC, Sierra Club, Western Watersheds, CSPA, and
19                   Karuk Tribe.
20          A separate line of cases refused to find ongoing agency
21    action.    Environmental Protection Information Center v. Simpson
22
      Timber Company, 255 F.3d 1073 (9th Cir. 2001) (―EPIC‖), concerned
23
      an allegation that FWS violated section 7 by refusing to
24
      reinitiate consultation with itself about the effect that an
25
      incidental take permit (―ITP‖) issued to a private timber company
26
27    for the northern spotted owl might have on two other species,

28    listed after the ITP was issued.          Id. at 1074-75.   As part of its
                                           42
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 43 of 85


1     application for the ITP, the timber company was required to
2     submit a Habitat Conservation Plan (―HCP‖) and Implementation
3
      Agreement (―IA‖), which contained detailed requirements to
4
      minimize and mitigate impacts to the species.          Id. at 1076-77.
5
      These documents were incorporated into the ITP.          Id. at 1077.
6
      EPIC argued that the HCP reserved to FWS discretionary
7

8     involvement and control such that it must reconsult on the impact

9     of the ITP to the newly-listed species.         Id. at 1080.    After

10    reviewing the language of the HCP in detail, the Ninth Circuit
11    concluded ―none of the provisions of the HCP or IA gives the FWS
12
      the power to reinitiate consultation on [the] spotted owl permit
13
      to impose measures to protect the marbled murrelet or coho
14
      salmon.‖    Id. at 1082.
15

16
            Sierra Club v. Babbitt, 65 F.3d 1502 (9th Cir. 2005),

17    addressed the Bureau of Land Management‘s (―BLM‖) failure to

18    consult with FWS about a proposed logging road‘s effect on the
19    northern spotted owl.      A private timber company planned to build
20
      a road on public land pursuant to a previously approved
21
      reciprocal right-of-way agreement with the BLM.          Environmental
22
      plaintiffs claimed BLM retained discretionary involvement and
23
      control over the right-of-way agreement, representing ongoing
24

25    agency action requiring consultation over the potential impact of

26    the road on the spotted owl, a then newly listed species.             Under

27    the right-of-way agreement, the BLM had three limited rights of
28    objection to the timber company's project, none of which related
                                      43
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 44 of 85


1     to endangered or threatened species.         Id. at 1509 n.10.    The
2     Ninth Circuit found BLM had no duty to consult with FWS, because
3
      it could not influence construction of the roadway for the
4
      benefit of the spotted owl:
5
                  In light of the statute's plain language, the agency's
6                 regulations, and the case law construing the scope of
                  ―agency action,‖ we conclude that where, as here, the
7                 federal agency lacks the discretion to influence the
8                 private action, consultation would be a meaningless
                  exercise; the agency simply does not possess the
9                 ability to implement measures that inure to the benefit
                  of the protected species.
10
      Id. at 1509.
11

12          Western Watersheds Project v. Matejko, 468 F.3d 1099 (9th

13    Cir. 2006), concerned private parties‘ vested rights-of-way to

14    access and use water on BLM land.         The BLM promulgated
15    regulations in 1986, recognizing those vested water rights as
16
      authorized uses of public land, without requiring further action
17
      by the private rights holder or BLM.         See id. at 1104-05.
18
      Amendments to those regulations required vested rights holders to
19
      obtain BLM permission if a use or activity resulted in a
20
21    ―substantial deviation‖ from the original right.          Id. at 1105.   A

22    later clarification provided that if a vested right holder failed

23    to approach BLM for a permit authorizing a ―substantial
24    deviation,‖ BLM retained the discretion to take an enforcement
25
      action against that rights-holder.         Id. at 1106 (citing 70 Fed.
26
      Reg. 20,980).    In light of this retained discretion, the district
27
      court concluded that the ESA requires BLM to consult with the
28
                                           44
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 45 of 85


1     appropriate wildlife agency ―over its decision not to impose
2     conditions on certain water diversions.‖         Id.   The Ninth Circuit
3
      reversed, focusing on the reasoning in Defenders of Wildlife v.
4
      EPA, 420 F.3d 949 (9th Cir. 2005):
5
                  Although the term ―agency action‖ is to be construed
6                 broadly, see Natural Res. Def. Council v. Houston, 146
                  F.3d 1118, 1125 (9th Cir. 1998), Ninth Circuit cases
7                 have emphasized that section 7(a)(2) consultation stems
8                 only from ―affirmative actions.‖ Defenders of Wildlife
                  repeatedly emphasized that section 7(a)(2) consultation
9                 stems from ―affirmative‖ actions only. It found a duty
                  to consult under section 7(a)(2) in an EPA decision to
10                approve a transfer of a Clean Water Act permitting
                  program from federal to state control. Most important
11                for present purposes, the opinion studied section
12                7(a)(2), analyzed Ninth Circuit case law, and
                  emphasized (over and over) that ―action‖ under section
13                7(a)(2) must be ―affirmative.‖ Id. at 967 (―section
                  7(a)(2) specifies that agencies must when acting
14                affirmatively refrain from jeopardizing listed
                  species‖) [].
15
                  Interpreting section 7(a)(2), the opinion explained
16
                  that ―the [ESA] confers authority and responsibility on
17                agencies to protect listed species when the agency
                  engages in an affirmative action that is both within
18                its decisionmaking authority and unconstrained by
                  earlier agency commitments.‖ Id. (emphasis added). The
19                ―language does indicate that some agency actions are
                  not covered-those the agency does not ‗authorize[ ],
20
                  fund[ ], or carr[y] out.‘ ‖ Id. ([]alterations in
21                original). It restates the question as whether agencies
                  must ―protect listed species from the impact of
22                affirmative federal actions.‖ Id. at 970 (emphasis
                  added). It characterizes section 7(a)(2) as ―a do-no-
23                harm directive pertaining to affirmative agency action
                  with likely adverse impact on listed species.‖ Id.
24                (emphasis added). It held that the approval of the
25                transfer of Clean Water Act permitting authority
                  triggered section 7(a)(2)'s ―consultation requirement
26                and its mandate that agencies not affirmatively take
                  actions that are likely to jeopardize listed species.‖
27                Id. at 971 (emphasis added). In short, Defenders of
                  Wildlife provides that ―inaction‖ is not ―action‖ for
28                section 7(a)(2) purposes. That is, even assuming the
                                        45
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 46 of 85


1                 BLM could have had some type of discretion here to
                  regulate the diversions (beyond a ―substantial
2                 deviation‖), the existence of such discretion without
                  more is not an ―action‖ triggering a consultation duty.
3

4     Id. at 1108 (emphasis added).

5           The Ninth Circuit specifically distinguished Turtle Island

6     as a case involving true ―affirmative‖ action:
7                 The BLM's challenged ―action‖ stands in marked contrast
8                 to cases involving truly ―affirmative‖ actions. See
                  Turtle Island Restoration Network, 340 F.3d at 977
9                 (holding that section 7(a)(2) applies to the ―continued
                  issuance of fishing permits‖) and Houston, 146 F.3d at
10                1125-26 (reasoning that section 7(a)(2) applies to
                  negotiating and executing water contracts, where agency
11                was not bound to reaffirm previously negotiated terms).
12
                  Here, the BLM did not fund the diversions, it did not
13                issue permits, it did not grant contracts, it did not
                  build dams, nor did it divert streams. Rather, the
14                private holders of the vested rights diverted the
                  water, beginning a long time ago. The BLM did not
15                affirmatively act and was ―not an entity responsible
                  for [the challenged] decisionmaking.‖ Defenders of
16
                  Wildlife, 420 F.3d at 968 (citing Washington Toxics
17                Coal. v. Envtl. Prot. Agency, 413 F.3d 1024, 1033 (9th
                  Cir.2005)).
18
      Id. at 1109.    Critical was the fact that the relevant regulations
19
      restricted BLM‘s power to act, as opposed to situations in which
20
21    the agency possessed ―continuing decisionmaking authority‖:

22                Western Watersheds would find ―affirmative‖ action in
                  the BLM's continuing decision not to enforce its
23                regulatory discretion. In this regard, 50 C.F.R. §
                  402.03, provides ―Section 7 and the requirements of
24                this Part apply to all actions in which there is
25                discretionary Federal involvement or control.‖ Assuming
                  the BLM had some ―discretionary‖ authority over 1866
26                and 1891 rights-of-way, the ―action‖ is-according to
                  Western Watersheds-the act of continuing to follow a
27                policy expressed in then-existing BLM regulations
                  promulgated in 1986 (43 C.F.R. § 2803.2(b) (2004)),
28                which restrict the BLM's power unless there is a
                                        46
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 47 of 85


1                 ―substantial deviation in location or authorized use‖
                  of a vested right-of-way.
2
                  It is true that ―[w]here the challenged action comes
3
                  within the agency's decisionmaking authority and
4                 remains so, it falls within section 7(a)(2)'s scope.‖
                  Defenders of Wildlife, 420 F.3d at 969 (emphasis
5                 added). However, there is no ―ongoing agency action‖
                  where the agency has acted earlier but specifically did
6                 not retain authority or was otherwise constrained by
                  statute, rule, or contract. For example, in
7                 Environmental Protection Info. Ctr. v. Simpson Timber
8                 Co., 255 F.3d 1073, 1082 (9th Cir. 2001), the Ninth
                  Circuit found no section 7(a)(2) consultation
9                 requirement where the FWS had already issued a permit
                  but had not retained discretion to amend it to protect
10                endangered species. There was no ―ongoing agency
                  involvement‖ because the FWS had not ―retained the
11                power to ‗implement measures that inure to the benefit
12                of the protected species.‘ ‖ Id. at 1080 ....

13                On the other hand, there was such ―continuing
                  decisionmaking authority‖ in Washington Toxics, where
14                the EPA had a continuing duty ―to register pesticides,
                  alter pesticide registrations, and cancel pesticide
15                registrations‖ under the Federal Insecticide, Fungicide
                  and Rodenticide Act. 413 F.3d at 1033. ―Ongoing agency
16
                  action‖ also existed in Pacific Rivers Council v.
17                Thomas, 30 F.3d 1050, 1053 (9th Cir. 1994), where the
                  Forest Service maintained continuing authority under a
18                comprehensive and long term management plan, that was
                  still in effect. And in Turtle Island Restoration
19                Network, the Ninth Circuit found the requisite residual
                  discretionary authority where the NMFS had retained
20
                  discretion in its previously-granted fishing permits
21                specifically to protect species. 340 F.3d at 977. In
                  those types of cases, there is a duty to consult.
22
                  Here, even if the BLM could have regulated the
23                diversions to protect endangered species, it did not
                  retain such discretion. As the 1983 instruction
24                memorandum, the 1986 regulations, and the recently-
25                enacted 2005 regulatory amendments make clear, the only
                  discretion the BLM retained is to regulate the pre-1978
26                diversions if there is a ―substantial deviation in use
                  or location.‖ The BLM has the ability to institute
27                enforcement or trespass actions if a right-of-way
                  holder ―substantially deviates‖ and does not obtain BLM
28                approval. See 43 U.S.C. § 1733 and 43 C.F.R. § 2808.11
                                        47
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 48 of 85


1                 (2005); 70 Fed. Reg. at 21078. It also has the ability
                  to institute an ESA § 9 (16 U.S.C. § 1538) ―taking‖
2                 action to prevent harm. But even this power is not
                  ongoing ―discretionary involvement or control‖ within
3
                  the meaning of 50 C.F.R. § 402.03. See Marbled
4                 Murrelet, 83 F.3d at 1074 (―there is no evidence that
                  the USFWS had any power to enforce those conditions
5                 other than its authority under section 9 of the ESA,
                  and this is not enough to trigger ‗federal action‘
6                 under section 7‖). In short, the BLM has no retained
                  power to ―inure to the benefit of the protected
7                 species.‖ Sierra Club, 65 F.3d at 1509.
8
      Id. at 1109-1110.     This does not fully explain how the rule
9
      articulated in Pacific Rivers and Washington Toxics -- that
10
      ―ongoing agency action‖ exists where the agency retains
11

12    ―continuing decisionmaking authority‖ –- relates to the newly-

13    articulated and overlapping ―affirmative action‖ rule.

14          Federal Defendants also cite California Sportfishing
15    Protection Alliance v. FERC, 472 F.3d 593 (9th Cir. 2006)
16
      (―CSPA‖), a challenge to FERC‘s refusal to initiate formal
17
      consultation with NMFS over the ongoing operation of a
18
      hydroelectric plant operated under a 30-year license from FERC.
19
      FERC could unilaterally institute proceedings to amend the
20
21    license under license terms authorizing FERC to modify the

22    license to reflect changing environmental concerns.          Id. at 595.
23    The Ninth Circuit emphasized, however, that ―[t]he ESA and the
24    applicable regulations ... mandate consultation with NMFS only
25
      before an agency takes some affirmative agency action, such as
26
      issuing a license.‖     Id. at 595 (emphasis added).       The Ninth
27
      Circuit concluded ―the agency action of granting a permit is
28
                                           48
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 49 of 85


1     complete.‖     Id. at 598.
2                  The ongoing activity is that of PG & E operating
                   pursuant to the permit. Plaintiffs in this case are not
3
                   challenging an ongoing program of issuing new permits
4                  that underlay our decision in Turtle Island.

5     Id.
6           The Ninth Circuit found FERC‘s actions ―materially the same‖
7     as the BLM‘s actions in Western Watersheds because ―PG & E, a
8
      private party, operates the hydroelectric project challenged in
9
      this case‖ and ―FERC, the agency, has proposed no affirmative act
10
      that would trigger the consultation requirement for current
11

12    operations.‖     CSPA distinguished Pacific Rivers:

13                 Pacific Rivers involved certain Land and Resource
                   Management Plans (―LRMPs‖) governing thousands of
14                 different projects in two national forests. Id. at
                   1052. After the Forest Service adopted the LRMPs, the
15                 Chinook was listed as a threatened species. Id. We held
                   that the Forest Service had to initiate formal
16
                   consultation on the LRMPs because they affected each
17                 future project planned in the forests. Id. at 1053. We
                   observed that ―every individual project planned in both
18                 national forests ... is implemented according to the
                   LRMPs.‖ Id. Because they continued to apply to new
19                 projects, we concluded that ―the LRMPs have an ongoing
                   and long-lasting effect even after adoption,‖ and
20
                   represented ―on-going agency action.‖ Id.
21
                   Unlike Pacific Rivers, this case involves no such long-
22                 lasting effects on new permits. The action was
                   concluded in 1980 when FERC issued the license to PG &
23                 E.
24    Id. (emphasis added).        CSPA seeks to reconcile the Pacific Rivers
25
      line of cases with the new ―affirmative action rule‖ articulated
26
      in Western Watersheds, by recognizing that the Pacific Rivers‘
27
      LRMP has an affirmative effect on every project planned in the
28
                                           49
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 50 of 85


1     covered national forests.
2           Karuk Tribe of Cal. v. United States Forest Service, 640
3
      F.3d 979, 985-86 (9th Cir. 2011) exemplifies how the ―affirmative
4
      action‖ test should be applied.       Karuk Tribe addressed the Forest
5
      Service‘s practice of requiring private parties conducting mining
6
      activities within national forests to submit a ―notice of intent
7

8     to operate‖ (―NOI‖) to the District Ranger.         Id. at 986.       Upon

9     receipt of an NOI, the Ranger decides whether the described

10    activities are likely to significantly disturb surface resources.
11    Id.   If so, the private party must submit a Plan of Operations
12
      (―Plan‖), which the Ranger must approve before any mining
13
      activity may proceed.      Id.   Plaintiffs specifically challenged
14
      the Ranger‘s decision to ―accept‖ several NOIs without an ESA
15

16
      consultation about the mining‘s effects on listed species.             Id.

17    Plaintiffs did not challenge the Ranger‘s determination that the

18    proposed activities did not require preparation of a Plan, nor
19    did they challenge the Forest Service‘s adoption of the
20
      regulatory scheme.     Id.   The Karuk tribe argued filing an NOI is
21
      a legal prerequisite to new mining activities, and that the
22
      Ranger's decision to allow the described suction dredging
23
      activities is an agency ―authorization.‖         Id. at 988.    The Forest
24

25    Service rejoined it has no power to ―authorize‖ mining activities

26    described in an NOI ―because the miners already possess the right

27    to mine under the mining laws, and that the permits to engage in
28    such mining are granted by other state and federal bodies.‖             Id.
                                      50
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 51 of 85


1           The Ninth Circuit reasoned the issue ―depends on the proper
2     characterization of what the USFS does with respect to an NOI and
3
      the activities described therein.‖        Id.   Rejecting the Tribe‘s
4
      position:
5
                    the NOI process is not ―authorization‖ of private
6                   activities when those activities are already authorized
                    by other law. Rather, it is merely a precautionary
7                   agency notification procedure, which is at most a
8                   preliminary step prior to agency action being taken.
                    The USFS acts in the sense claimed by the Tribe only in
9                   approving a Plan. The Tribe's statement that the
                    ―Ranger determines whether mining should be regulated
10                  under a[n] NOI or [Plan],‖ is inaccurate. Mining is not
                    ―regulated‖ under an NOI because an NOI is not a
11                  regulatory document. The Ranger's response to an NOI—
12                  which is not even required by statute or regulation—is
                    analogous to the NOI itself, a notice of the agency's
13                  review decision. It is not a permit, and does not
                    impose regulations on the private conduct as does a
14                  Plan.
15    Id. at 990.      ―The duty to consult is triggered by affirmative
16
      actions.‖     Id.
17
                    In other words, ―authorization‖ under the ESA and its
18                  implementing regulations means affirmative
                    authorization of the activity, in the manner of
19                  granting a license or permit, as opposed to merely
                    acquiescing in the private activity. Thus, in [Western
20
                    Watersheds] we held that the Bureau of Land
21                  Management's (BLM) ―acquiescence‖ in private parties'
                    diversions of water was not an agency action under the
22                  ESA.

23    Id.
24
               3.     NWF v. NMFS.
25
            One non-binding 2004 district court decision that pre-dates
26
27    Western Watersheds, CSPA, and Karuk Tribe, found Pacific Rivers

28    applicable to FEMA‘s implementation of the NFIP in Puget Sound.
                                           51
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 52 of 85


1     In National Wildlife Federation v. FEMA, 345 F. Supp. 2d 1151
2     (W.D. Wash. 2004) (―NWF v. NMFS‖), environmental plaintiffs
3
      alleged FEMA violated ESA Section 7(a)(2) by not consulting with
4
      NMFS on the impacts of the NFIP on Puget Sound Chinook salmon, an
5
      ESA listed species.     Id. at 1153-54.     The NWF v. NMFS plaintiffs
6
      analogously ―contend[ed] that FEMA‘s implementation of the NFIP
7

8     constitutes an agency action that may affect the Puget Sound

9     Chinook salmon because some aspects of the NFIP encourage

10    development in the floodplains, and the floodplains of the Puget
11    Sound provide important habitat for the salmon.‖          Id. at 1154.
12
      The district court in NWF v. FEMA first concluded that the NFIP
13
      is a ―program carried out‖ by FEMA:
14
                  The NFIP is a program carried out by FEMA. The NFIP
15                involves the promulgation of regulations (i.e., the
                  minimum eligibility criteria), providing insurance, and
16
                  actions that indirectly cause modifications of the land
17                and water (e.g., FEMA's mapping of floodplains
                  determines the applicability of local land use
18                regulations, and FEMA's CRS provides incentives to
                  modify the floodplains in certain ways). Accordingly,
19                the NFIP falls within the broad definition of ―agency
                  action‖ to which Section 7(a)(2) applies. See TVA v.
20
                  Hill, 437 U.S. at 173, 98 S.Ct. 2279 (Section 7(a)(2)'s
21                language ―admits of no exception‖); Natural Res. Def.
                  Council (―NRDC‖) v. Houston, 146 F.3d 1118, 1125 (9th
22                Cir. 1998) (―The term ‗agency action‘ has been defined
                  broadly‖); Pacific Rivers Council, 30 F.3d at 1055
23                (―Following the Supreme Court's lead in TVA, [the Ninth
                  Circuit] ha[s] also construed ‗agency action‘
24                broadly.‖).
25
      Id. at 1169.    The next inquiry was      whether FEMA‘s ―carrying out‖
26
      of the NFIP involved ―discretionary Federal involvement or
27
      control.‖    The NWF v. NMFS district court       summarized Sierra Club
28
                                           52
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 53 of 85


1     v. Babbitt, NRDC v. Houston, Pacific Rivers, Turtle Island, and
2     EPIC, the law as of 2004:
3
                  Neither [EPIC] nor Sierra Club v. Babbitt control in
4                 the present case because the ―agency action‖ in both of
                  these cases involved a contract between a federal
5                 agency and a private entity. In each case, the contract
                  had been completed at the time the plaintiffs sought to
6                 require consultation, and there was no contract term
                  that authorized the agency to intervene for the benefit
7                 of protected species. The terms of the contract in
8                 those cases determined the existence and nature of the
                  agency's discretion. Therefore, the agency action in
9                 both cases was completed and there was no ongoing
                  agency action. In the present case, there is no
10                contract; thus, the Court looks to the enabling statute
                  to determine whether the agency has discretion, as was
11                the case in Turtle Island Restoration Network and NRDC
12                v. Houston. Moreover, the NFIP influences the
                  management of an entire ecosystem (i.e., floodplains)
13                on an ongoing basis, just as the LRMPs in Pacific
                  Rivers Council guided resource management on forest
14                lands. The Court concludes that the present case
                  involves a continuing agency action akin to the LRMPs
15                in Pacific Rivers [] because, like the LRMPs, FEMA's
                  passage of the minimum eligibility criteria, the
16
                  mapping of floodplains, and the implementation of the
17                CRS have ongoing effects extending beyond their mere
                  approval. Like the LRMPs, FEMA's actions in
18                implementing, monitoring, and enforcing the NFIP can be
                  actions subject to ESA consultation even though some of
19                the regulations and programs were adopted before the
                  listing of the Puget Sound chinook salmon in 1999.
20
21                Turtle Island Restoration Network requires further
                  discussion. This case held that the agency had
22                discretion to act for the benefit of protected sea
                  turtles based on the enabling statute's enumerated
23                purpose to increase the effectiveness of ―international
                  conservation and management measures,‖ expressly
24                defined by the statute as ―measures to conserve or
25                manage one or more species of living marine resources.‖
                  340 F.3d at 976. The Ninth Circuit noted that ―one such
26                measure is the Inter-American Convention for the
                  Protection and Conservation of Sea Turtles, which was
27                designed to promote the protection ... of sea turtle
                  populations.‖ Id. The Ninth Circuit reversed the
28                district court's ―no discretion‖ holding. The Ninth
                                        53
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 54 of 85


1                 Circuit clarified its holding by noting that ―[w]hether
                  the Fisheries Service must condition permits to benefit
2                 listed species is not the question before this court,
                  rather, the question before us is whether the statutory
3
                  language of the [enabling statute] confers sufficient
4                 discretion to the Fisheries Service so that the agency
                  could condition permits to benefit listed species.‖ Id.
5                 at 977 (emphasis in original).

6                 This is a subtle but important distinction that is also
                  demonstrated by the holding in NRDC v. Houston, a case
7                 in which the Federal Reclamation Laws gave the Bureau
8                 of Reclamation the ability to renew 40 year water
                  service contracts on ―mutually agreeable terms,‖
9                 determined that water rights were based on the amount
                  of available project water and gave the Secretary of
10                the Interior the discretion to set water rates to cover
                  ―an appropriate share‖ of the cost of maintenance and
11                operation. 146 F.3d at 1126. The Ninth Circuit held
12                that this enabling statute gave the Bureau of
                  Reclamation discretion to reduce the total amount of
13                water available to water rights holders, which, in
                  turn, could allow more water to be available for listed
14                salmon. See id. The Ninth Circuit in NRDC v. Houston
                  did not require the statute to have as one of its
15                stated purposes the protection of the environment,
                  wildlife or endangered species. The key was whether the
16
                  agency had discretion to act in a manner that could
17                benefit the listed species, which it did because it
                  could adjust the amount of water available to water
18                rights holders to accommodate increased flows for
                  salmon. The court also noted that the Bureau of
19                Reclamation had discretion to act for the benefit of
                  the listed species based on the federal law mandating
20
                  the Bureau to renew the water contracts on ―mutually
21                agreeable‖ terms. Id.

22                In sum, although Turtle Island Restoration Network
                  found the environmental language in the enabling
23                statute to be the source of the discretion for the
                  federal agency in that case, an environmental purpose
24                need not be expressed in the enabling statute to
25                trigger Section 7(a)(2) of the ESA. NRDC v. Houston
                  demonstrates that a stated environmental purpose is not
26                necessary if the action agency otherwise has discretion
                  to act in such a way that could benefit the endangered
27                and threatened species. Indeed, most federal agency
                  actions would not be subject to the formal consultation
28                process under Section 7(a)(2) if the ESA only applied
                                        54
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 55 of 85


1                 to agency actions where the agency was already
                  compelled by statute to protect listed species.
2                 Furthermore, a narrow interpretation of the term
                  ―agency action‖ that only applies Section 7(a)(2) to
3
                  actions carried out under environmental statutes would
4                 conflict with the broad reading of the term given by
                  the United States Supreme Court and the Ninth Circuit.
5
      Id. at 1171-72 (emphasis added).          Turtle Island and NRDC v.
6
      Houston were applied to the challenged FEMA activities:
7

8                 Applying Turtle Island Restoration Network and NRDC v.
                  Houston to the present case, the issue is whether the
9                 NFIA confers sufficient discretion on FEMA so that FEMA
                  could implement the NFIP to benefit the Puget Sound
10                chinook salmon, not whether FEMA must implement the
                  NFIP to benefit the salmon. The fact that the NFIP is
11                an insurance, not an environmental, program does not
12                foreclose the agency's discretion to implement measures
                  to benefit the salmon. One of the seven enumerated
13                purposes of the NFIP authorizes FEMA to guide
                  development away from locations threatened by flood
14                hazards, see 42 U.S.C. § 4001(e)(2), which, in turn,
                  would help preserve the natural floodplain functions
15                that benefit salmon. This provision grants FEMA the
                  discretion to act for the benefit of the salmon in the
16
                  same way that the Bureau of Reclamation had discretion
17                to adjust the water supply available to water rights
                  holders to benefit salmon in NRDC v. Houston.
18                Additionally, the NFIA states that FEMA ―shall consult
                  with other departments and agencies of the Federal
19                Government ... in order to assure that the programs of
                  such agencies and the flood insurance program
20
                  authorized under this chapter are mutually consistent.‖
21                42 U.S.C. § 4024. This ―shall consult‖ language not
                  only gives FEMA discretion to consult, but appears to
22                require FEMA to consult with other agencies, such as
                  NMFS, to ensure that the NFIP is implemented in a
23                manner that is ―mutually consistent‖ with NMFS's
                  programs. Accordingly, the Court holds that FEMA has
24                discretion to act for the benefit of the Puget Sound
25                chinook salmon in implementing the NFIP and thus
                  consultation with the NMFS is ordered. However, because
26                ―the implementation of the NFIP‖ is a vague way to
                  describe the agency action at issue, the Court examines
27                the component parts of the NFIP to determine whether
                  FEMA has discretion with respect to each part.
28
                                           55
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 56 of 85


1     Id. at 1169-73 (emphasis in original).
2           The Coalition‘s theory of this case is that a suite of
3
      actions continuously undertaken by FEMA to ―carry out‖ the NFIP
4
      encourages land development, which reduces available habitat to
5
      listed species, and therefore requires consultation.            In addition
6
      to FEMA‘s mapping activities, Plaintiffs allege that FEMA‘s
7

8     certification of community eligibility for the NFIP and

9     monitoring of community compliance and enforcement with FEMA‘s

10    criteria for eligibility encourage development in the floodplain.
11    However, no case suggests that the mere allegation of a
12
      programmatic challenge excuses examination of the individual
13
      activities Plaintiffs allege to be in violation of the law.9             NWF
14
      v. NMFS    analyzed the NFIP component-by-component.          Id. at 1173.
15

16              4.   Mapping Activities.
17          Federal Defendants invoke Karuk Tribe to argue that FEMA‘s
18
      9
19      Federal Defendants suggest that a programmatic attack against an ―apparatus
      established by the Executive Branch to fulfill its legal duties,‖ rather than
      ―specifically identifiable Government violations of law,‖ raises serious
20    justiciability issues. Federal Defendants cite Allen v. Wright, 468 U.S. 737,
      759-60 (1984), in which the Supreme Court found that parents of African
21    American public school children had no standing to sue the Internal Revenue
      Service for failing to adopt sufficient standards to deny tax-exempt status to
22    racially discriminatory private schools. The Court reasoned whether IRS
      grants of exemption to private schools impacts racial composition of public
23    schools was speculative and that permitting standing would ―pave the way
      generally for suits challenging, not specifically identifiable Government
24    violations of law, but the particular programs agencies establish to carry out
      their legal obligations. Such suits, even when premised on allegations of
25    several instances of violations of law, are rarely if ever appropriate for
      federal-court adjudication.‖ Id. at 740. But, that case concerned completely
26    different theories of causation than are present here. Plaintiffs‘ standing,
      including their theories of causation, were examined and accepted for purposes
27    of pleading in Coalition for a Sustainable Delta v. FEMA, 711 F. Supp. 2d
      1152, 1160 (E.D. Cal. 2010). Federal Defendants have not moved for summary
28    judgment on the issue of standing, and, as discovery has not yet closed, the
      record is insufficient to address standing on summary judgment sua sponte.
                                           56
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 57 of 85


1     mapping activities only ―acquiesce‖ in private parties‘ prior
2     actions modifying the flood plain.           FEMA undisputedly does not
3
      ―authorize‖ these modifications through any type of permit or
4
      license.      Instead, FEMA simply responds to completed
5
      modifications by adjusting its maps accordingly.              FEMA‘s actions
6
      are distinguishable from those in Karuk Tribe, Western
7

8     Watersheds, and CSPA.         The affirmative action rule applied in

9     those three cases barred application of the ESA to agency

10    decisions not to do anything.          In Western Watersheds, BLM decided
11    not to impose conditions on the diversion of water; in CSPA, FERC
12
      decided not to amend a license; and in Karuk Tribe, the BLM
13
      decided not to require a Plan.           By contrast, FEMA unquestionably
14
      takes action, pursuant to the NFIP, when it amends a map.
15
              Another ground of distinction from Karuk Tribe, CSPA, and
16

17    Western Watersheds exists.          Those cases evaluated whether the

18    agency activity qualified as an ―authorization‖ under 50 C.F.R
19    402.0210, while the plaintiffs here, as in NWF v. FEMA,
20
      10
           50 C.F.R. § 402.02 defines the term ―action‖ to mean:
21
              all activities or programs of any kind authorized, funded, or carried
22            out, in whole or in part, by Federal agencies in the United States or
              upon the high seas. Examples included, but are not limited to:
23
                    (a) actions intended to conserve listed species or their habitat;
24
                    (b) the promulgation of regulations;
25
                    (c) the granting of licenses, contracts, leases, easements,
26                  rights-of-way, permits, or grants-in-aid; or

27                  (d) actions directly or indirectly causing modifications to the
                    land, water, or air.
28
      50 C.F.R. § 402.02.
                                              57
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 58 of 85


1     characterize FEMA‘s NFIP activities as ―carrying out‖ an agency
2     program.    See TAC at ¶ 25; NWF v. FEMA, 345 F. Supp. 2d at 1169.
3
      Karuk confirms that the ―authorized‖ language of 50 C.F.R. §
4
      402.02 only applies to an affirmative action such as issuing a
5
      license or permit.     Karuk in footnote 12, interprets the
6
      ―carrying out‖ language from 50 C.F.R. § 402.02 to encompass only
7

8     challenges to the way an agency applies an existing standard:

9                 While the Ranger may be able to alter the way he
                  applies the standard ―likely to cause significant
10                disturbance of surface resources‖ to the benefit of
                  species (resulting in more NOIs requiring a Plan, in
11                connection with which the Ranger can demand changes in
12                the intended private conduct), his adoption and
                  carrying out of the standard is not at issue here. Cf.
13                50 C.F.R. § 402.02 (listing as ―agency action‖ the
                  promulgation of regulations and the carrying out of
14                programs ―intended to conserve listed species or their
                  habitat‖). If it were, the holding in this case might
15                be very different. Rather, the Tribe seeks to force
                  interagency consultation for NOIs that, we must assume,
16
                  are properly deemed not Plan-worthy under the governing
17                standard. Cf. Tex. Indep. Producers & Royalty Owners
                  Ass'n v. EPA, 410 F.3d 964, 979 (7th Cir. 2005)
18                (holding section 7 consultation not required for
                  ministerial acceptance of NOIs filed to take advantage
19                of a previously-authorized general permit).
20
      640 F.3d at 992 n.12.      Karuk‘s result would have been different
21
      if the challenge was to how the Ranger ―carried out‖ the existing
22
      standard, because the agency‘s application of the ―likely to
23
      cause significant disturbance of surface resources‖ standard to
24

25    require preparation of a Plan is ―affirmative action.‖           If the

26    standard has been properly applied to deem an activity described

27    in an NOI ―not Plan-worthy,‖ section 7 is not triggered, in part
28
                                           58
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 59 of 85


1     because, absent a finding that the activity is ―likely to cause
2     significant disturbance,‖ the Forest Service lacks authority to
3
      ―approve‖ the exercise of pre-existing mining rights and
4
      therefore cannot possibly satisfy the affirmative action
5
      requirement.
6
            Plaintiffs‘ challenge to the ―ongoing implementation of the
7

8     NFIP,‖ Doc. 129 at 31, is a challenge to how FEMA is ―carrying

9     out‖ existing standards applicable to floodplain mapping.             See

10    TAC at ¶ 25.11    Plaintiffs focus on four regulatory provisions:
11    44 C.F.R. §§ 60.3, 64.3, 65.5 and 65.10.         Doc. 129 at 31.
12
            Title 44, C.F.R. § 60.3 explains, among other things, that
13
      communities participating in the NFIP ―shall ... require that all
14
      new construction and substantial improvements of‖ residential and
15
      non-residential structures within certain flood hazard zones
16

17    identified on the community‘s FIRM ―have the lowest floor

18    (including basement) elevated to or above the base flood
19    level....‖ § 60.3(c)(2)-(3).       This regulatory language pertains
20
      to all FEMA‘s mapping activities.
21
            Section 64.3 describes the types of maps FEMA may prepare in
22
      connection with the sale of flood insurance and prescribes that
23
      certain types of maps shall be maintained for public inspection
24

25    in particular public places.
      11
26      Plaintiffs specifically disclaim that they challenge the regulations
      themselves and cannot challenge FEMA‘s floodplain mapping activities as
27    ―authorizations,‖ as they plainly do not involve the issuance of a permit,
      license, or related ―permission.‖ Plaintiffs also describe their challenge as
28    a challenge to the ―structure‖ of the NFIP. But, this is nothing more than a
      challenge to the regulatory framework itself, which is time-barred.
                                           59
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 60 of 85


1           Section 65.5 specifically addresses the modification of
2     flood hazard boundaries in response to the use of earthen fill to
3
      elevate areas above the base flood level:
4
                  (a) Data requirements for topographic changes. In many
5                 areas of special flood hazard (excluding V zones and
                  floodways) it may be feasible to elevate areas with
6                 engineered earthen fill above the base flood elevation.
                  Scientific and technical information to support a
7                 request to gain exclusion from an area of special flood
8                 hazard of a structure or parcel of land that has been
                  elevated by the placement of engineered earthen fill
9                 will include the following:

10                     (1) A copy of the recorded deed indicating the
                       legal description of the property and the official
11                     recordation information....
12
                       (2) If the property is recorded on a plat map, a
13                     copy of the recorded plat indicating both the
                       location of the property and the official
14                     recordation information....
15                     (3) A topographic map or other information
                       indicating existing ground elevations and the date
16
                       of fill. FEMA's determination to exclude a legally
17                     defined parcel of land or a structure from the
                       area of special flood hazard will be based upon a
18                     comparison of the base flood elevations to the
                       lowest ground elevation of the parcel or the
19                     lowest adjacent grade to the structure. If the
                       lowest ground elevation of the entire legally
20
                       defined parcel of land or the lowest adjacent
21                     grade to the structure are at or above the
                       elevations of the base flood, FEMA will exclude
22                     the parcel and/or structure from the area of
                       special flood hazard.
23
                       (4) Written assurance by the participating
24                     community that they have complied with the
25                     appropriate minimum floodplain management
                       requirements under § 60.3. This includes the
26                     requirements that:

27                           (i) Existing residential structures built in
                             the SFHA have their lowest floor elevated to
28                           or above the base flood;
                                         60
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 61 of 85


1
                             (ii) The participating community has
2                            determined that the land and any existing or
                             proposed structures to be removed from the
3
                             SFHA are ―reasonably safe from flooding‖, and
4                            that they have on file, available upon
                             request by FEMA, all supporting analyses and
5                            documentation used to make that
                             determination;
6
                             (iii) The participating community has issued
7                            permits for all existing and proposed
8                            construction or other development; and

9                            (iv) All necessary permits have been received
                             from those governmental agencies where
10                           approval is required by Federal, State, or
                             local law.
11

12                     (5) If the community cannot assure that it has
                       complied with the appropriate minimum floodplain
13                     management requirements under § 60.3, of this
                       chapter, the map revision request will be deferred
14                     until the community remedies all violations to the
                       maximum extent possible through coordination with
15                     FEMA. Once the remedies are in place, and the
                       community assures that the land and structures are
16
                       ―reasonably safe from flooding,‖ we will process a
17                     revision to the SFHA using the criteria set forth
                       in § 65.5(a). The community must maintain on file,
18                     and make available upon request by FEMA, all
                       supporting analyses and documentation used in
19                     determining that the land or structures are
                       ―reasonably safe from flooding.‖
20
21                                                 ***

22                     (7) A revision of floodplain delineations based on
                       fill must demonstrate that any such fill does not
23                     result in a floodway encroachment.
24                     (b) New topographic data. A community may also
25                     follow the procedures described in paragraphs
                       (a)(1) through (6) of this section to request a
26                     map revision when no physical changes have
                       occurred in the area of special flood hazard, when
27                     no fill has been placed, and when the natural
                       ground elevations are at or above the elevations
28                     of the base flood, where new topographic maps are
                                        61
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 62 of 85


1                      more detailed or more accurate than the current
                       map.
2
                                                   ***
3

4     (Emphasis added.)

5           Section 65.10(a) explains that ―FEMA will only recognize in

6     its flood hazard and risk mapping effort those levee systems that
7     meet, and continue to meet, minimum design, operation, and
8
      maintenance standards that are consistent with the level of
9
      protection sought through the comprehensive flood plain
10
      management criteria....‖      Subsections (b) through (e) identify
11

12    requirements for the design, operation, and maintenance of levee

13    systems.

14          These regulations directly permit private parties to use
15    artificial means to either elevate (e.g., through the use of
16
      fill) the lowest floor of covered structures above the base flood
17
      level or alter (e.g., by way of levee construction) the contours
18
      of the flood plain itself.12
19
            The crux of this dispute is Plaintiffs‘ argument that FEMA
20
21    has the discretion to carry out its floodplain mapping activities

22    in a way that provides alternative mechanisms to protect the

23    species.    On this record, FEMA has exercised such discretion in
24    other regions.     For example, NMFS issued a jeopardy biological
25
      opinion and reasonable and prudent alternative (―RPA‖) addressing
26    12
        Plaintiffs allege that these regulations ―are structured in a manner that
27    encourages a third party to make physical alterations to the floodplain and
      then petition FEMA for a revision to the Hazard area.‖ Doc. 129 at 31. This
28    is a challenge to the regulations themselves, which were last substantively
      amended in 1997. Any such claim time-barred.
                                           62
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 63 of 85


1     the impacts of the NFIP on listed salmonids in Puget Sound.            See
2     Exhibit B, Doc. 132-1.      That RPA required FEMA to process LOMCs
3
      created by manmade alterations: ―only when the proponent has
4
      factored in the effects of the alterations on channel and
5
      floodplain habitat function for listed salmon, and has
6
      demonstrated that the alteration avoids habitat functional
7

8     changes, or that the proponent has mitigated for the habitat

9     functional changes resulting from the alteration with appropriate

10    habitat measures that benefit the affected salmonid populations.‖
11    Id. at 152.    FEMA is implementing these and other changes to its
12
      mapping procedures to reduce impacts on salmonids in Puget Sound.
13
      See Exhibit R, Doc. 144.
14
            Given the existence in the regulatory framework of
15
      sufficient discretion to accommodate the changes to FEMA‘s
16

17    mapping activities described above, this case is more like

18    Washington Toxics than any other of the cited cases.           As in
19    Washington Toxics, where the EPA retained authority to modify
20
      and/or withdraw pesticide registrations, FEMA retains authority
21
      to modify how and under what circumstances it will consider
22
      allowing floodplain modifications in its mapping activities.
23
      This ―discretionary‖ action ―directly or indirectly causes
24

25    modifications to the land and water.‖        50 C.F.R. §402.02(d).

26          Unlike Karuk and Western Watersheds, emphasizing that

27    private parties had pre-existing rights under separate statutes
28    to engage in the challenged activities (mining in Karuk and the
                                      63
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 64 of 85


1     use of vested water rights in Western Watersheds), private
2     parties have no underlying ―right,‖ granted by statute or
3
      regulation, to use artificial modifications to remove property or
4
      structures from flood hazard boundaries
5
            The NFIP regulations permit landowners to exempt their
6
      property from the flood plain by artificially elevating it.              FEMA
7

8     implements these regulations on a continuing basis by approving

9     map changes to reflect fill activities.13          FEMA possess discretion

10    to modify its implementation of the mapping regulations to
11    benefit the species.      If it did not, the modifications made to
12
      implement the NFIP in Puget Sound would be unlawful.14            FEMA‘s
13

14    13
         This finding is consistent with NWF v. NMFS, which applied then-existing
15    caselaw to FEMA‘s mapping activities as follows:

16          FEMA argues that its mapping of a floodplain is ―exceedingly
            ministerial,‖ based solely on a technical evaluation of the base flood
17          elevation. However, FEMA has used its discretion to map the floodplain
            in a way that allows persons to artificially fill the floodplain to
18          actually remove it from its floodplain status, and thus from regulatory
            burdens. There is nothing in the NFIA authorizing, let alone requiring,
19          FEMA to authorize filling activities to change the contours of the
            natural floodplain. Indeed, such regulations may be counterproductive to
20          the enabling statute's purpose of discouraging development in areas
            threatened by flood hazards. As a result of FEMA's discretion in its
21          mapping activities, FEMA must consult on its mapping regulations and its
            revisions of flood maps, to determine whether they jeopardize the
22          continued existence of the Puget Sound chinook salmon. Because the NFIA
            requires FEMA to review flood maps at least once every five years to
23          assess the need to update all floodplain areas and flood risk zones, 42
            U.S.C. § 4101(e), (f)(1), the agency activity is clearly an ongoing one
24          that is subject to the ESA's consultation requirements.

25    345 F. Supp. 2d at 1173.
      14
         Federal Defendants argue that FEMA‘s alleged authority to amend the NFIP
26    regulations does not trigger a duty to consult. Plaintiffs respond by
      clarifying that they do not contend that the discretion to amend the NFIP
27    regulations alone triggers the duty to consult. Doc. 129 at 27-28.
      Plaintiffs concede that the ability to amend these regulations, without more,
28    is insufficient to trigger the consultation duty. Id. at 28. Rather, the key
      here is that FEMA also retains discretion to modify its implementation of
                                            64
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 65 of 85


1     floodplain NFIP ongoing mapping activity in the Sacramento-San
2     Joaquin Delta is ongoing agency action and therefore not barred
3
      by the six-year statute of limitations.         Federal Defendants‘
4
      partial motion for summary judgment that Plaintiffs‘ claims
5
      regarding FEMA‘s mapping activities are barred by the statute of
6
      limitations is DENIED.
7

8
               5.    Other NFIP-Related Activities.
9
            Although the Complaint focuses almost exclusively on
10
      specific examples related to FEMA‘s mapping activities,
11
      Plaintiffs also allege that development in the floodplain is
12
      encouraged by FEMA‘s implementation of its community eligibility
13

14    criteria, monitoring of community compliance and enforcement

15    based on these criteria, and implementation of its Community

16    Rating System that provides discounts on flood insurance premiums
17    to NFIP communities that go beyond the minimum NFIP eligibility
18
      criteria.     TAC at ¶¶ 73, 75-6.     Federal Defendants do not move
19
      for summary judgment as to Plaintiffs‘ claims concerning these
20
      activities.    They need not be addressed.
21

22
      C.    FEMA‘s Argument that LOMCs Do Not Trigger a Duty to Consult
23          Because They Have No Effect on Listed Species.

24          Section 7(a)(2)‘s consultation requirement applies only to

25    those actions ―authorized, funded, or carried out‖ by Federal

26    agencies, 50 C.F.R. § 402.02, that ―may affect‖ listed species or
27

28    existing regulations to benefit the species.

                                           65
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 66 of 85


1     critical habitat, id. § 402.14(a) (emphasis added).            ―ESA section
2     7 requires that an agency considering action consult with either
3
      [FWS or NMFS] if the agency ‗has reason to believe that an
4
      endangered species or a threatened species may be present in the
5
      area‘ affected by the proposed action, and ‗implementation of
6
      such action will likely affect such species.‘‖           Ground Zero Ctr.
7

8     for Non-Violent Action v. U.S. Dep‘t of Navy, 383 F.3d 1082, 1091

9     (9th Cir. 2004) (quoting 16 U.S.C. § 1536(a)(3)).           If the agency

10    action is environmentally neutral and will have no effect on
11    listed species, the consultation requirement is not triggered.
12
      See S.W. Ctr., 100 F.3d at 1447-48;15 but see Cal. ex rel. Lockyer
13
      v. U.S. Dep‘t of Agric., 575 F.3d 999, 1018-19 (9th Cir. 2009)
14
      (citing 51 Fed. Reg. at 19,949 for the proposition that ―[a]ny
15
      possible effect, whether beneficial, benign, adverse, or of an
16

17    undetermined character, triggers the formal consultation

18    requirement...‖).
19          FEMA contends that to the extent Plaintiffs‘ assert that
20
      FEMA‘s mapping activities violate ESA Section 7(a)(2), these
21
      claims fail because the individual mapping actions are
22
      ―environmentally neutral.‖       For example, LOMCs do nothing more
23
      than revise or amend flood maps to reflect extant, on-the-ground
24

25    conditions.    LOMC Validations simply identify the prior LOMCs
      15
26      This is not to be confused with the definition of ―action‖ under the ESA,
      which includes actions designed to benefit species. See 50 C.F.R. § 402.02
27    (the term ―action‖ includes ―actions intended to conserve listed species or
      their habitat‖). An ―action‖ will not trigger consultation if the action
28    agency determines it will have no effect on the listed species. See S.W.
      Ctr., 100 F.3d at 1447-48
                                           66
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 67 of 85


1     that remain in effect following the issuance of a new FIRM and
2     ―revalidates‖ previously-issued LOMCs.          An LOMC violation is not
3
      a new mapping action and does not authorize, fund, or carry out
4
      any projects that might have some future effect on listed
5
      species.    The same applies to LOMAs and LOMR-Fs, which correct
6
      the inadvertent inclusion of properties in the regulatory
7

8     floodway depicted on a FIRM.        Likewise, LOMRs are issued as a

9     result of updated flood hazard data that requires a modification

10    of the FIRM.    See 44 C.F.R. §§ 65.4-65.6; Norton Decl., ¶ 6.b.
11    FEMA may also issue a LOMR-F, which is a ―modification of the
12
      SFHA shown on the FIRM based on the placement of fill outside the
13
      existing regulatory floodway.‖        44 C.F.R. § 72.2; Norton Decl., ¶
14
      6.c.   In both cases, the project or the placement of fill has
15
      already been completed at the time the LOMR or LOMR-F is issued.16
16

17           FEMA characterizes each of these determinations as

18    ―environmentally neutral,‖ activities that could not possibly
19    ―affect‖ listed species.       Doc. 122 at 2.     Rather, FEMA maintains
20
      that the appropriate targets for ESA compliance action are the
21
      private individuals and local and state jurisdictions that
22

23    16
         In contrast, FEMA may also issue a conditional LOMR or LOMR-F before the
24    requesting party has taken an action that physically modifies the floodplain.
      Norton Decl., ¶ 8 & Ex. B. In these circumstances, there is still ―an
25    opportunity to identify if threatened or endangered species may be affected by
      the potential project.‖ Norton Decl., Ex. B at 2. As a result, FEMA‘s
26    procedures provide that ―[t]he CLOMR-F or CLOMR request will be processed by
      FEMA only after FEMA receives documentation from the requestor that
27    demonstrates compliance with the ESA.‖ Id. at 3. FEMA maintains that
      requests for LOMRs or LOMR-Fs do not provide the same opportunity to comment
28    on the projects because map changes are issued only after the physical
      alterations have taken place. Doc. 122 at 28-29.
                                           67
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 68 of 85


1     actually completed the projects and ―are required to comply with
2     the ESA independently of FEMA‘s process.‖          Id. at 29.
3
            FEMA minimizes the programmatic nature of Plaintiffs‘
4
      challenge, which is not directed against individual mapping
5
      actions themselves.     Plaintiffs maintain that FEMA‘s ongoing
6
      administration of its floodplain mapping activities encourages
7

8     communities and developers to use fill or build levees to obtain

9     FEMA-issued LOMRs or LOMR-Fs, removing the covered properties

10    from the SFHA, relieving the property owners of the statutory
11    requirement for flood insurance.          TAC ¶¶ 70-72.   This is alleged
12
      to encourage land filling and recovery which reduces the species‘
13
      critical habitat in the Delta.
14
            NWF v. FEMA explains:
15
                  FEMA argues that its mapping of a floodplain is
16                ―exceedingly ministerial,‖ based solely on a technical
                  evaluation of the base flood elevation. However, FEMA
17                has used its discretion to map the floodplain in a way
                  that allows persons to artificially fill the floodplain
18                to actually remove it from its floodplain status, and
                  thus from regulatory burdens. There is nothing in the
19                NFIA authorizing, let alone requiring, FEMA to
                  authorize filling activities to change the contours of
20                the natural floodplain. Indeed, such regulations may be
                  counterproductive to the enabling statute's purpose of
21                discouraging development in areas threatened by flood
                  hazards. As a result of FEMA's discretion in its
22                mapping activities, FEMA must consult on its mapping
                  regulations and its revisions of flood maps, to
23                determine whether they jeopardize the continued
                  existence of the Puget Sound chinook salmon. Because
24                the NFIA requires FEMA to review flood maps at least
                  once every five years to assess the need to update all
25                floodplain areas and flood risk zones, 42 U.S.C. §
                  4101(e), (f)(1), the agency activity is clearly an
26                ongoing one that is subject to the ESA's consultation
                  requirements.
27
      345 F. Supp. 2d at 1173.
28
                                           68
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 69 of 85


1           FEMA argues that this reasoning is ―legally untenable,‖
2     because ―FEMA‘s floodplain mapping regulations do not authorize
3
      anyone to place fill, build levees, or construct any type of
4
      flood control projects anywhere.‖         Doc. 122 at 29.   NWF v. FEMA
5
      makes no such finding.      Rather, that case and Plaintiffs here
6
      emphasize how FEMA has used its discretion to permit persons to
7

8     artificially (e.g., through filling activities) remove areas from

9     the floodplain, which causes reduction in habitat.

10          Where, as here, the movant seeks summary judgment on a claim
11    or issue on which the non-movant bears the burden of proof, the
12
      movant ―can prevail merely by pointing out that there is an
13
      absence of evidence to support the nonmoving party's case.‖
14
      Soremekun, 509 F.3d at 984.       ―If the moving party meets its
15
      initial burden, the non-moving party must set forth, by affidavit
16

17    or as otherwise provided in Rule 56, ‗specific facts showing that

18    there is a genuine issue for trial.‘‖         Id. (quoting Anderson, 477
19    U.S. at 250 (1986)).      ―Conclusory, speculative testimony in
20
      affidavits and moving papers is insufficient to raise genuine
21
      issues of fact and defeat summary judgment.‖         Soremekun, 509 F.3d
22
      at 984.
23
            Plaintiffs submit Exhibit F to their Request for Judicial
24

25    Notice, Docs. 131 & 132, excerpts from a May 2006 FEMA Biological

26    Assessment (―2006 BA‖) regarding the potential impacts of FEMA‘s

27    Federal Disaster Assistance programs on various listed species in
28
                                           69
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 70 of 85


1     California.17    The 2006 BA explains that under the proposed action
2     ―FEMA would provide funds to implement changes required by
3
      current building codes and standards or otherwise modify existing
4
      buildings.    Often, these changes have the effect of making the
5
      structure more resistant to damage in future events.‖
6
                   Typical activities include:
7

8                         Making buildings more fire resistant (e.g., by
                        replacing roofs and doors with fire-resistant
9                       materials) or safer during fires (e.g., by
                        installing sprinkler and alarm systems);
10
                          Installing bracing, shear panels, shear walls,
11                      anchors, or other features so that buildings are
                        better able to withstand earthquake shaking or
12                      high wind loads;

13                        Modifying buildings to reduce the risk of damage
                        during floods by elevating structures above the
14                      expected flood level or by flood-proofing;

15                        Modifying buildings to meet another need of a
                        sub-grantee, such as with an improved action or an
16                      alternate action.

17                 If a building is located in an identified floodplain
                   and is substantially damaged, the NFIA requires that
18                 the building be elevated so that the lowest floor is at
                   or above the base flood (100- year) elevation. Newly
19                 constructed buildings, such as those built to replace
                   destroyed facilities must also meet this requirement,
20                 if located in floodplains. Structures can be elevated
                   on extended foundation walls, piers, posts, columns, or
21                 compacted fill. All materials used below the base flood
                   elevation must be flood resistant. Utilities, such as
22                 exterior compressors, also must be elevated above the
                   base flood elevation. A building also can be flood-
23                 proofed so that floodwaters can encounter it without
                   causing damage to the structure or its contents. ―Dry
24                 floodproofing‖ methods involve the installation of
                   flood shields, water-tight doors and windows, earthen
25                 barriers, and pumping systems to prevent water from
                   entering the structure. ―Wet floodproofing‖ involves
26                 the installation of vents and flood-resistant materials
                   so that water may enter and leave areas of the
27                 structure without causing damage. With both dry and wet
      17
28      This document is available at
      http://www.fema.gov/library/viewRecord.do?id=1966 (last visited May 18, 2011).
                                           70
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 71 of 85


1                 flood-proofing, utilities are modified, elevated, or
                  relocated to prevent floodwaters from accumulating
2                 within them. Buildings also may be upgraded to meet
                  codes unrelated to damage from natural hazards, such as
3                 upgrades required by changes in capacity or function,
                  and upgrades necessary to meet the requirements of the
4                 Americans with Disabilities Act.

5     Exhibit F at 3-3 (emphasis added).

6           Elsewhere in the 2006 BA, the potential impacts of these and
7     other activities are discussed:
8
                  Any activity that involves work in an area with
9                 sensitive resources, no matter what the intent, has the
                  potential to negatively effect those resources without
10                careful planning. The proposed actions discussed in
                  Section 2 have the potential to impact salmon and
11                steelhead through disturbing the breeding, feeding,
                  mating, and sheltering of these species by impeding or
12                blocking passage; putting sediment; input of debris or
                  pollutants into waters; entraining fish; or otherwise
13                harming the fish or negatively impacting their
                  environment. Impacts that could be expected from the
14                proposed actions discussed in Section 2 could result in
                  the loss of habitat complexity and degradation of water
15                quality. These effects include:

16                       introduction of sediment from a project site
                       into the waterways from erosion or runoff;
17
                         loss of in-stream cover or resting places
18                     through channel simplification, removal of large
                       woody debris and rocks, or removal of riparian
19                     canopy at the project site;

20                       loss of suitable gravel substrate through
                       removal or burial with sediment;
21
                         decreases in water flow downstream from water
22                     withdrawals or diversions at or above the site;

23                       barriers to fish passage from improperly
                       designed stream crossings or other devices;
24
                         increases in water temperature from loss of
25                     riparian shade; and

26                       introduction of pollutants to waterways from
                       construction materials placed in the water, spills
27                     or runoff.

28                Coho salmon, Chinook salmon, and steelhead all need
                  very similar components and functions of complex
                                        71
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 72 of 85


1                  freshwater habitats. The loss of essential habitat
                   components and functions through human actions happens
2                  in many ways. Sedimentation and/or stream flow
                   reductions can result in the loss of deep, cool water
3                  pools; reducing the available habitat that juvenile and
                   adult salmonids can use for shelter or forage. Sediment
4                  can also smother the aquatic invertebrates that
                   juvenile salmonids feed on or cement the substrate so
5                  that spawning cannot take placed. Loss of instream
                   cover (i.e., large woody debris and rocks) reduces
6                  available shelter from predators. Loss of riparian
                   canopy increases water temperature, causing stress
7                  and/or death for the salmonids and their forage
                   species. The introduction of pollutants may kill or
8                  stress salmonids and the species they feed on. Lowered
                   water flows, as the result of damming or diverting
9                  water, may delay migration, dry out sections of the
                   stream channel stranding fish, and fragment habitat
10                 (Berggren and Filardo 1993; Chapman and Bjornn 1969;
                   Reiser and Bjornn 1979). Alternations to a channel may
11                 result in a loss of complex habitat, shelter, shade,
                   and availability of forage.
12
      Id. at 5-1 (emphasis added).
13
            This is sufficient to create a dispute as to whether the
14
      actions of private parties, such as ―[m]odifying buildings to
15

16    reduce the risk of damage during floods by elevating structures

17    above the expected flood level,‖ see id. at 3-3, have impacts on

18    listed species.
19          However, the 2006 BA concerned a different FEMA program,
20
      namely funding to prepare for and/or rebuild after natural
21
      disasters.    That the direct provision of funds to elevate
22
      structures above flood level ―causes‖ such activities to take
23
      place is undisputed.      Here, the issue is whether FEMA‘s
24

25    administration of the NFIP in a manner that permits artificial

26    activities to modify the floodplain so as to exclude structures

27    from its boundaries causes persons to engage in such activities.
28    NMFS‘s biological opinion on FEMA‘s implementation of the NFIP in
                                      72
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 73 of 85


1     Puget Sound directly addressed this issue:
2                 The regulatory function of the NFIP recognizes
                  placement of fill in floodplains for two purposes – 1)
3
                  to place habitable structures at or above the elevation
4                 of the 100 year flood to reduce risk of loss of life
                  and property, and 2) to remove areas from the
5                 floodplain altogether. Where the NFIP is in effect,
                  barring local regulations that preserve floodplain
6                 function, the eventual effect of operation of the
                  regulation to place fill, is to allow more development
7                 to be ―safely‖ placed in the floodplain. By its very
8                 purpose, the NFIP reduces available floodplain storage
                  of water, in particular the slower velocity, more
9                 shallow volumes of water of the ―flood fringe, which
                  juvenile salmonids rely on for their survival. The NFIP
10                allows floodplains to be filled with development up to
                  the point that the 100-year or base flood is
11                constrained to the point of increasing the elevation of
12                that flood by one foot. By its stated terms, the NFIP
                  functions to restrict development only when the volume
13                of concentrated water to be conveyed is so constrained
                  by floodplain development that the floodway is no
14                longer sufficient for ―safe‖ conveyance of floodwaters.
                  Thus, with each successive flood event, fish within the
15                flooding system will have less floodplain refugia, and
                  more volume and velocity of water within the main
16
                  floodway, decreasing their chances for survival, and
17                among those that do survive, their fitness for future
                  developmental stages.
18
      Exhibit B, Doc. 132, at 145.       This finding about NFIP effects on
19
      the same listed species in another area creates a dispute as to
20
21    whether FEMA‘s mapping activities indirectly cause development to

22    occur in NFIP participating areas, with resulting effect on the

23    species.
24          FEMA‘s motion for summary judgment on the ground that its
25
      map revision process has no effect on Listed Species is DENIED.
26
27

28
                                           73
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 74 of 85


1     D.      Plaintiffs‘ Challenge is Not Barred by 42 U.S.C. § 4101.

2             Section 4104 of the NFIA requires FEMA to follow detailed
3     procedures when issuing a FIRM or FIRM amendment that establishes
4
      or modifies the base flood elevation (―BFE‖).          See 42 U.S.C. §
5
      4104; 44 C.F.R. pt. 67.      FEMA must first ―propose [BFEs for a
6
      community] by publication for comment in the Federal Register, by
7
      direct notification to the chief executive officer of the
8

9     community, and by publication in a prominent local newspaper.‖

10    42 U.S.C. § 4104(a).      FEMA must also ―publish notification of

11    flood elevation determinations in a prominent local newspaper at
12    least twice during the ten-day period following notification to
13
      the local government.‖      Id. § 4104(b); see also 44 C.F.R. § 67.4.
14
              The community, and any owner or lessee of real property in
15
      the community who believes his property rights will be adversely
16
      affected by the proposed BFEs, may file an appeal within 90 days
17

18    after the second newspaper publication.         42 U.S.C. § 4104(b),

19    (e).    ―The sole basis for such appeal shall be the possession of
20    knowledge or information indicating that the elevations being
21
      proposed by [FEMA] with respect to an identified area having
22
      special flood hazards are scientifically or technically
23
      incorrect, and the sole relief which shall be granted‖ is
24
      modification of the proposed elevations.         Id.; 44 C.F.R. §§ 67.5-
25

26    67.6.

27            ―Any appellant aggrieved by any final determination of

28    [FEMA] upon administrative appeal, as provided by [42 U.S.C. §
                                           74
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 75 of 85


1     4104], may appeal such determination to the United States
2     district court for the district within which the community is
3
      located not more than sixty days after receipt of notice of such
4
      determination.‖     42 U.S.C. § 4104(g).     The scope of judicial
5
      review ―shall be as provided‖ in the Administrative Procedure Act
6
      (―APA‖).     Id.   The agency's final flood elevation determinations
7

8     ―shall be effective‖ pending judicial review ―unless stayed by

9     the court for good cause shown.‖       Id.; see 44 C.F.R. § 67.12.

10          FEMA points out that 14 of the 17 LOMRs mentioned in
11    Plaintiffs‘ Complaint were subject to the notice and
12
      administrative appeal process prescribed by the NFIA.           Norton
13
      Decl., ¶¶ 9.f, 10.     FEMA argues that Plaintiffs‘ present
14
      challenge is barred because the NFIA‘s administrative and
15
      judicial review provisions are exclusive and preclude Plaintiffs
16

17    from bringing untimely challenges under the ESA‘s citizen suit

18    provision.    In support of this argument, FEMA cites Block v.
19    Community Nutrition Institute, 467 U.S. 340 (1984), in which
20
      consumers of dairy products sought judicial review under the APA
21
      of milk market orders issued by the Secretary of Agriculture
22
      pursuant to the Agricultural Marketing Agreement Act (―AMAA‖).
23
      The APA provides for judicial review of final agency action
24

25    except to the extent other statutes preclude review.           See 5

26    U.S.C. § 701(a)(1).     In the AMAA, Congress created a detailed

27    mechanism by which milk handlers can participate in the
28    development of market orders and seek administrative and judicial
                                      75
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 76 of 85


1     review.   Block, 467 U.S. at 346-47.       ―Nowhere in the Act,
2     however, is there an express provision for participation by
3
      consumers in any proceeding.‖       Id. at 347 (emphasis added).
4
             The Supreme Court held that the detailed statutory scheme
5
      precluded consumers from challenging marketing orders under the
6
      APA.   Id. at 353. ―Whether and to what extent a particular
7

8     statute precludes review is determined not only from its express

9     language, but also from the structure of the statutory scheme,

10    its objectives, its legislative history, and the nature of the
11    administrative action involved.‖       Id. at 345.     Although there is
12
      a presumption favoring judicial review of agency action, it ―is
13
      just that -- a presumption.       This presumption, like all
14
      presumptions used in interpreting statutes, may be overcome by
15
      specific language or specific legislative history that is a
16

17    reliable indicator of congressional intent.‖         Id. at 349.

18    ―[W]hen a statute provides a detailed mechanism for judicial
19    consideration of particular issues at the behest of particular
20
      persons, judicial review of those issues at the behest of other
21
      persons may be found to be impliedly precluded.‖          Id.   The
22
      complex statutory scheme in the AMAA made clear ―Congress‘
23
      intention to limit the classes entitled to participate in the
24

25    development of market orders,‖ id. at 346, and the absence of any

26    express provision for participation by consumers ―is sufficient

27    reason to believe that Congress intended to foreclose consumer
28    participation in the regulatory process,‖ id. at 347.
                                      76
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 77 of 85


1                  Had Congress intended to allow consumers to attack
                   provisions of marketing orders, it surely would have
2                  required them to pursue the administrative remedies
                   provided in the [AMAA] as well. The restriction of
3
                   administrative remedy to handlers strongly suggests
4                  that Congress intended a similar restriction of
                   judicial review of market orders.
5
      Id.   The Supreme Court concluded that ―[t]he structure of this
6
      Act implies that Congress intended to preclude consumer
7

8     challenges to the Secretary‘s market orders.‖          Id. at 352-53.

9           FEMA argues that Congress‘ intent to limit the class of

10    persons who may challenge FEMA‘s flood elevation determinations
11    ―is even more unequivocal than in Block,‖ because ―Section 4104
12
      of the NFIA provides only for the participation of affected
13
      communities and landowners in the regulatory process leading to
14
      the determination or modification of flood elevation levels, 42
15
      U.S.C. § 4104(a)-(b), and limits the availability of
16

17    administrative review to those participants.‖          Doc. 122 at 32.

18          FEMA‘s argument is misplaced for several reasons.          First,
19    Plaintiffs do not challenge the validity (i.e., the accuracy) of
20
      FEMA‘s elevation determinations in the LOMCs discussed in the
21
      Complaint.    The administrative appeal provisions and statute of
22
      limitations in 42 U.S.C. § 4104 are limited to a challenge by a
23
      community, landowner, or leaseholder to FEMA‘s elevation
24

25    determinations based on the submission of relevant technical

26    information.    42 U.S.C. § 4104(a)-(b).      These provisions do not

27    apply to a challenge to an agency‘s failure to consult under
28    section 7 of the ESA with respect to an ongoing agency action.
                                      77
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 78 of 85


1     Plaintiffs have no standing to directly challenge any LOMC
2     discussed in the complaint.
3
              Ninth Circuit precedent belies any preclusive effect of §
4
      4104.     Washington Toxics, 413 F.3d at 1033-34, holds that the
5
      doctrines of exhaustion and primary jurisdiction are inapplicable
6
      in a section 7 challenge to EPA‘s failure to consult regarding
7

8     its registration of certain pesticides that may kill or injure,

9     or affect future behavior and reproductive success of listed

10    salmonids.     Id. at 1034.   There, EPA argued that ―administrative
11    exhaustion or primary jurisdiction under FIFRA applies ... , and
12
      that the district court should first have required the plaintiffs
13
      to exhaust FIFRA remedies before entering an injunction.‖             Id. at
14
      1033.    Under 7 U.S.C. §§ 136d(c) and 136(l) of FIFRA, EPA may
15
      suspend the registration of any pesticide without observing the
16

17    usual procedural requirements if it determines the pesticide

18    creates ―an unreasonable hazard to the survival of a [listed]
19    species....‖     Id.   In addition, under FIFRA, any interested
20
      person can petition EPA for a cancellation of a pesticide
21
      registration.     Id. (citing 40 C.F.R. § 154.10).
22
              The Ninth Circuit rejected EPA‘s exhaustion argument,
23
      holding that ―[n]either FIFRA nor the ESA, however, suggest any
24

25    legislative intent to require exhaustion of the FIFRA remedy

26    before seeking relief under the ESA.‖        Id.   ―[T]he mere fact that

27    FIFRA recognizes EPA authority to suspend registered pesticides
28    to protect listed species does not mean that FIFRA remedies trump
                                      78
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 79 of 85


1     those Congress expressly made available under [the] ESA, or that
2     FIFRA provides an exclusive or primary remedy.          The scheme of the
3
      two statutes suggests the exact opposite.‖         Id. at 1034.       Rather
4
      the ―different and complimentary purposes‖ of FIFRA and the ESA
5
      ―leads us to conclude that an agency cannot escape its obligation
6
      to comply with the ESA merely because it is bound to comply with
7

8     another statute that has consistent, complimentary objectives.‖

9     Id. at 1032.

10          Here, as in Washington Toxics, § 4101‘s administrative
11    review procedures reveal no legislative intent to require
12
      exhaustion of the NFIA‘s procedures prior to an ESA challenge.
13
      FEMA‘s motion for partial summary judgment on the ground that
14
      Plaintiffs‘ claims are barred by the administrative review
15
      procedures set forth in 42 U.S.C. § 4104 is DENIED.
16

17
      E.    Is FEMA‘s Issuance of Flood Insurance a Non-Discretionary
18          Act Not Subject to Section 7(a)(2) under Home Builders?

19          Federal Defendants argue that FEMA‘s issuance of flood

20    insurance is a non-discretionary act not subject to Section 7
21    under Home Builders.      The Eleventh Circuit explains Home Builders
22
      in Florida Key Deer v. Paulison, 522 F.3d 1133 (11th Cir. 2008):
23
                  In National Association of Home Builders, the Supreme
24                Court considered the interplay between the seemingly
                  conflicting mandates of the Clean Water Act (―CWA‖) and
25                the ESA. The CWA established the National Pollution
                  Discharge Elimination System (―NPDES‖), which is
26                ―designed to prevent harmful discharges into the
27                Nation's waters.‖ Nat'l Ass'n of Home Builders, 127
                  S.Ct. at 2525. Although the Environmental Protection
28                Agency (―EPA‖) initially administers the NPDES
                                           79
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 80 of 85


1                 permitting system for each state, it must transfer that
                  permitting authority to a state upon application and
2                 satisfaction of nine statutory criteria. Id. Those
                  criteria test the authority under state law of the
3
                  would-be administering agency to carry out the NPDES
4                 program. Id. at 2525 & n. 2. The respondents before the
                  Court argued that the EPA has discretion to consider
5                 listed species in making an NPDES transfer decision.
                  Id. at 2537. The Court rejected the argument, stating
6                 that ―[n]othing in the text of [the CWA's operative
                  provision] authorizes the EPA to consider the
7                 protection of threatened or endangered species as an
8                 end in itself when evaluating a transfer application.‖
                  Id. Additionally, the Court noted that ―to the extent
9                 that some of the [CWA] criteria may result in
                  environmental benefits to marine species, there is no
10                dispute that [the state at issue] has satisfied each of
                  those statutory criteria.‖ Id. In other words, although
11                the CWA ―requires the EPA to consider whether [a state]
12                has the legal authority to enforce applicable water
                  quality standards, ... the permit transfer process does
13                not itself require scrutiny of the underlying standards
                  or of their effect on marine or wildlife.‖ Id. at 2537
14                n. 10.
15    Id. at 1142.    NWF v. FEMA18 found that FEMA‘s issuance of flood
16
      insurance was a nondiscretionary act:
17
                  FEMA has no discretion to deny flood insurance to a
18                person in a NFIP-eligible community. See 42 U.S.C. §
                  4012(c) (requiring FEMA to provide flood insurance to
19                communities which have ―evidenced a positive interest
                  in securing flood insurance coverage under the flood
20                insurance program‖ and have ―given satisfactory
                  assurance that ... adequate land use and control
21                measures will have been adopted ... which are
                  consistent with the comprehensive criteria for land
22                management and use developed‖ under 42 U.S.C. § 4102).
                  As a result, FEMA has no obligation to consult with
23                NMFS regarding the actual sale of flood insurance.

24    345 F. Supp. 2d at 1174.

25    18
        Even though NWF v. FEMA was decided before Home Builders, the regulation at
26    issue in Home Builders was there applied, namely 50 C.F.R. § 402.03 (agency
      actions are subject to Section 7(a)(2)‘s consultation requirements only if
27    ―there is discretionary Federal involvement or control‖) and 50 C.F.R. §
      402.16 (requiring re-initiation of consultation where ―discretionary Federal
28    involvement or control over the action has been retained or is authorized by
      law‖). See 345 F. Supp. 2d at 1169.
                                            80
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 81 of 85


1           Section 4012(c) provides:
2                 (c) Availability of insurance in States or areas
                  evidencing positive interest in securing insurance and
3
                  assuring adoption of adequate land use and control
4                 measures

5                 The Director shall make flood insurance available in
                  only those States or areas (or subdivisions thereof)
6                 which he has determined have--
7                      (1) evidenced a positive interest in securing
8                      flood insurance coverage under the flood insurance
                       program, and
9
                       (2) given satisfactory assurance that by December
10                     31, 1971, adequate land use and control measures
                       will have been adopted for the State or area (or
11                     subdivision) which are consistent with the
12                     comprehensive criteria for land management and use
                       developed under section 4102 of this title, and
13                     that the application and enforcement of such
                       measures will commence as soon as technical
14                     information on floodways and on controlling flood
                       elevations is available.
15
      (Emphasis added.)     42 U.S.C. § 4102 in turn directs FEMA to
16

17    develop:

18                ....comprehensive criteria designed to encourage, where
                  necessary, the adoption of adequate State and local
19                measures which, to the maximum extent feasible, will‖
20
                  (1) constrict the development of land which is exposed
21                to flood damage where appropriate,

22                (2) guide the development of proposed construction away
                  from locations which are threatened by flood hazards,
23
                  (3) assist in reducing damage caused by floods, and
24

25                (4) otherwise improve the long-range land management
                  and use of flood-prone areas,
26
                  and he shall work closely with and provide any
27                necessary technical assistance to State, interstate,
                  and local governmental agencies, to encourage the
28                application of such criteria and the adoption and
                                        81
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 82 of 85


1                  enforcement of such measures.
2     Id. at 4102(c).
3
              Pursuant to § 4102, FEMA promulgated detailed requirements
4
      for NFIP-participating communities in 44 C.F.R. § 60.3, which,
5
      among other things, require communities to review all proposed
6
      development for flood danger and take certain corrective actions
7

8     to minimize the potential for flood damage in flood-prone areas.

9     One of the mechanisms employed by Section 60.3 compels the

10    community to require all new construction and substantial
11    improvements to existing structures within certain flood hazard
12
      zones be elevated to or above the base flood level.          44 C.F.R.
13
      60.3(c)(2)-(3).
14
              42 U.S.C. § 4012 provides that FEMA ―shall make flood
15
      insurance available in only those States or areas (or
16

17    subdivisions thereof)‖ which have, among other things, ―evidenced

18    a positive interest in securing flood insurance coverage under
19    the flood insurance program‖ and have ―given satisfactory
20
      assurance that ... adequate land use and control measures will
21
      have been adopted ... which are consistent with the comprehensive
22
      criteria for land management and use‖ set forth in 44 C.F.R. §
23
      60.3.     Plaintiffs concede the mandate that FEMA ―must make flood
24

25    insurance available to participating communities‖ that satisfy

26    the eligibility criteria means what it says, but argue that this

27    does not mean FEMA has no discretion to place additional
28    conditions on the insurance to qualify for coverage.           Doc. 129 at
                                      82
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 83 of 85


1     38.   That FEMA hypothetically could amend the conditions for
2     eligibility is irrelevant to resolution of this issue.             It is not
3
      disputed that ―FEMA [] is charged with developing [the
4
      eligibility] criteria and enjoys broad discretion in so doing.‖
5
      Fla. Key Deer, 522 F.3d at 1142.          However, once the then-
6
      governing eligibility criteria19 have been satisfied, the issuance
7

8     of flood insurance to qualified applicants is mandatory, and,

9     under Home Builders, is an act not subject to section 7

10    consultation.     To the extent Plaintiffs suggest that FEMA may
11    modify the terms of the policies themselves to add additional
12
      conditions upon the issuance of insurance above and beyond those
13
      included in the regulatory eligibility criteria, any such
14
      argument fails.     The cannon of expressio unius est exclusio
15

16
      alterius applies to preclude inclusion of additional eligibility

17    criteria omitted from the regulation itself.           Cf.   Swierkiewicz

18    v. Sorema, N.A., 534 U.S. 506, 512 (2002) (listing in Fed. R.
19    Civ. Pro. 9(b) of certain actions requiring heightened pleading
20
      precludes application of the heightened standard to actions not
21
      listed); Boudette v. Barnette, 923 F.2d 754, 756-57 (9th Cir.
22
      1991) (noting that the expressio unius canon ―creates a
23
      presumption that when a statute designates certain ... manners of
24

25    operation, all omissions should be understood as exclusions‖).

26
      19
27       It is also undisputed that FEMA retains ongoing authority to amend the
      eligibility criteria. As discussed above, supra at note 13, Plaintiffs
28    concede that FEMA‘s authority to amend the NFIP regulations does not, on its
      own, trigger a duty to consult.
                                           83
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 84 of 85


1           FEMA‘s motion for partial for summary judgment that its
2     issuance of flood insurance to eligible applicants is non-
3
      discretionary under Home Builders is GRANTED.
4

5                                  VI. CONCLUSION

6           For the reasons set forth above Federal Defendants‘ motion

7     for partial summary judgment is GRANTED IN PART AND DENIED IN
8     PART as follows:
9
            (1)   The six year statute of limitations does not bar
10
      Plaintiffs‘ challenge to FEMA‘s ongoing mapping activities under
11
      the NFIA.    The ―ongoing activity‖ exception to the statute of
12
      limitations has spawned a wealth of arguably contradictory
13

14    caselaw.    However, the balance of authority suggests that,

15    although FEMA‘s individual mapping actions are taken in response

16    to the actions of third parties, each such mapping action is an
17    ―affirmative action‖ that collectively has the potential to
18
      encourage third parties to fill and/or build levees in the Delta
19
      floodplain.    To the extent the cumulative effect of such
20
      activities threatens the continued existence of the species and
21

22    its habitat is subject to proof.          Whether or not FEMA‘s mapping

23    activities in the Delta actually do encourage such filling and

24    leveeing activities is a disputed material fact that cannot be
25    resolved on summary judgment.
26
            (2) Likewise, whether FEMA‘s issuance of LOMCs and related
27
      mapping activities actually impacts the Listed Species is a
28
                                           84
     Case 1:09-cv-02024-LJO-BAM Document 154 Filed 08/19/11 Page 85 of 85


1     disputed issue of fact that cannot be resolved on summary
2     judgment.    The ESA documents produced in connection with FEMA‘s
3
      administration of the NFIP in Puget Sound are sufficient to
4
      create a dispute of material fact on this issue.
5
            (3)   Plaintiffs‘ challenge is not barred by the procedures
6
      set forth in 42 U.S.C. § 4101, which provide for administrative
7

8     review of individual mapping actions.         These procedures do not

9     preclude the type of programmatic ESA challenge brought here.

10          (4)   Finally, FEMA‘s issuance of flood insurance is not
11    subject to ESA Section 7 consultation under Home Builders.            Once
12
      the minimum eligibility requirements are satisfied, FEMA is
13
      required to issue flood insurance to the eligible party and
14
      retains no discretion to further modify the terms and conditions
15
      of the policies.
16

17          Plaintiffs shall submit a proposed form of order consistent

18    with this memorandum decision within five (5) days following
19    electronic service.
20
      SO ORDERED
21    Dated August 19, 2011
                                                    /s/ Oliver W. Wanger
22                                              United States District Judge

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